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   Science, Engineering and Medicine; and participated in efforts to improve the safe
   use of prescription opioids within Johns Hopkins Medicine and other health systems.
   My work focused on the epidemic has been funded by the Department of Health
   and Human Services Assistant Secretary for Planning and Evaluation (DHHS/ASPE),
   the Centers for Disease Control and Prevention (CDC), the Robert Wood Johnson
   Foundation and the National Institutes of Health (NIH).

5. I have published extensively about opioids, including analyses of prescription opioid
   use in the United States2 3 as well as evaluations of the structure and impact of
   regulatory4 5 6 7 8 9 10 11 12 and payment13 14 15 16 policies on opioid prescribing, dispensing
   and utilization. I have also co-authored policy perspectives17 18 and a widely
   referenced public health review of the epidemic.19

6. In addition to these studies, I have also led or participated in teams examining many
   other facets of the crisis, including: opioid initiation among members of households
   with a prescription opioid user;20 the effect of reformulated Oxycontin on opioid
   utilization;21 physicians’ knowledge and attitudes regarding non-medical opioid
   use;22 use of medication for opioid use disorder (MOUD);23 24 the costs and healthcare
   utilization associated with high-risk opioid use;25 use of automated algorithms to
   identify non-medical opioid use;26 the relationship between high-risk patients
   receiving prescription opioids and high-volume prescribers;27 opioid use among
   individuals with HIV,28 chronic kidney disease29 30 or recent surgery;31 32 33 and potential
   financial conflicts of interest among organizations opposed to the CDC’s 2016
   Guideline for Prescribing Opioids for Chronic Pain.34 35

7. The studies I have performed have used a variety of epidemiologic methods,
   including: descriptive analyses based on cross-sectional, serial cross-sectional and
   period prevalence designs; retrospective cohort studies using difference-in-
   difference, interrupted time-series, comparative interrupted time-series and time-to-
   event designs; prospective cohort studies; qualitative assessments using grounded
   theory; and narrative and systematic reviews. A complete list of my publications is
   contained in my curriculum vitae (Appendix B).

8. I received a B.A. cum laude from the University of Pennsylvania (Philosophy) in 1993,
   an M.D. from Case Western Reserve University in 1998, and an M.S. from the University
   of Chicago in 2003. A more complete description of my qualifications is found in my
   curriculum vitae. My rate of compensation for this matter is $700 per hour. I am also
   reimbursed for my out-of-pocket expenses. I am not compensated based on the
   outcome of this matter nor the substance of my report.

9. The opinions and conclusions in this report are based on the information and
   documentation that was available to me at this time, and they are my own, rather
   than those of Johns Hopkins University. I reserve the right to supplement and revise
   these perspectives based on additional evidence or information that is made
   available to me after the date of this report.




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DATA SOURCES, METHODOLOGY AND OPINIONS
10. In preparing this report, I travelled to Akron, Ohio to meet with local stakeholders and
    reviewed materials from a number of sources, including: select confidential materials
    provided to me by Plaintiffs; published reports regarding the epidemic in Cuyahoga
    and Summit Counties such as the 2016 Cuyahoga County Opiate Task Force Report,36
    February 2019 Medical Examiner’s Office Report from Cuyahoga County37 and the
    2017-2018 Summit County Opiate Task Force Strategic Plan;38 information derived
    from other national and local experts submitting reports in this litigation; and peer-
    reviewed literature, whitepapers, reports from public health authorities, non-profit
    organizations and other publicly available sources. Many of my findings are based on
    prior investigations that my team and I have either performed or synthesized, such as
    knowledge contained in Appendix A and in citations such as references #1-#35. A
    complete list of the documents I consulted in preparing this report is provided as an
    Attachment.

11. For some remedies, such as the use of MOUD1, the evidence-base is vast, with
    thousands of peer-reviewed manuscripts examining this matter. In these settings,
    formal evidence syntheses were often available, typically systematic reviews that
    represent a pre-specified, transparent, reproducible, highly structured approach to
    curating and critically appraising the totality of information required to address a
    carefully specified question. Because of their comprehensiveness and rigor, such
    evidence-syntheses are often regarded as at the top of the “evidence pyramid”.39 In
    some cases, I also used information available from authoritative sources such as the
    CDC, National Institutes on Drug Abuse (NIDA) or the Substance Abuse and Mental
    Health Services Administration (SAMHSA).

12. Whether or not systematic reviews were available, I reviewed the literature in order to
    learn more about the evidence supporting various approaches. There are a number
    of qualitative criteria that are often useful in evaluating the strength of scientific
    evidence supporting a given scientific finding or claim. These include factors such as
    the publishing journal, authorship team, affiliated institutions, funding source(s), data
    source(s), methodologic approach and interpretation.2 The “Hill Criteria” (strength of
    association, consistency, specificity, temporality, biological gradient, plausibility,
    coherence, experiment, and analogy) are also an important means of evaluating the
    strength of causal inference possible from a given scientific study.40

13. To estimate national abatement costs as described in Paragraphs #175-#181, I used
    an economic model of the opioid epidemic (“Markov model”). The model describes
    the dynamic movement of populations through different phases of the opioid
    epidemic, such as medical use, non-medical opioid use, OUD, overdose and death.
    It is based on publicly available data from the United States Census Bureau, Centers
    for Disease Control and Prevention (CDC), National Survey on Drug Use and Health

1Definitions of terms such as “opioid use disorder”, “addiction”, “non-medical opioid use” and
“misuse” are provided in Dr. Katherine Keyes’ expert report.
2 Neither these criteria nor the Hill Criteria are absolute. Rather, they serve as contextual factors
that provide qualitative information that can be useful in examining the credibility of scientific
claims.



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   (NSDUH), National Health and Nutrition Examination Survey (NHANES), and National
   Epidemiologic Survey on Alcohol and Related Conditions (NESARC), as well as
   information derived from the peer-reviewed literature and other models of the opioid
   epidemic.41 42 43 While no model can perfectly capture all of the dynamic and
   complex processes of the epidemic, developing and analyzing formal models forces
   one to make assumptions explicit, and allows for these assumptions to be evaluated
   in light of the best available data. Such models provide policy-makers with
   information about the potential public health value of different interventions, and
   they allow for estimations of the costs of interventions such as those provided later in
   this report.

14. There is widespread consensus in both clinical and public health communities that the
    abatement measures identified in this report are effective in reversing opioid-related
    morbidity and mortality. The measures discussed herein have been put forth by
    numerous consensus panels, task forces, professional society organizations and
    others. Disagreement about these solutions, when present, has tended to focus more
    on the priority of the interventions given limited funding (e.g., how much should be
    spent on law enforcement vs. MOUD)44, as well as in some cases, the potential
    unintended effects of some interventions. Fortunately, there is a large evidence base
    to guide the selection of interventions that should be undertaken, and also a
    recognition of the critical point, as expressed by former Congressman John Delaney,
    “that the cost of doing nothing is not nothing”.45

15. I conclude that an opioid epidemic currently exists in Cuyahoga and Summit
    Counties. This epidemic continues to result in high levels of opioid-related morbidity
    and mortality as described in this report and that of other experts such as Katherine
    Keyes. I further conclude that based on my experience in epidemiology, clinical
    medicine and public health, my extensive application of these fields to the opioid
    epidemic, and my analysis in this case, I am able to determine what additional
    evidence-based and evidence- informed measures and approaches should be used
    in Cuyahoga and Summit Counties to reduce opioid-related morbidity and mortality.
    These measures and approaches are described below. The specific utilization and
    combination of measures should be subject to the opinions of other experts,
    especially within the affected communities. The opinions expressed by me in this
    report are held by me to a reasonable degree of professional certainty.


INDICIA OF OPIOID CRISIS
16. The modern opioid epidemic can be traced to the 1980’s, when a growing number
    of journal articles argued that the perceived risks of opioids were overstated and that
    more aggressive pain management was needed in the United States.46 47 48 One often
    cited report, published in 1980 in the New England Journal of Medicine and entitled
    “Addiction Rare in Patients Treated With Narcotics”,49 is a particularly striking example
    of the misapplication of scientific evidence regarding the risks of opioids and a
    cautionary tale of how such information has been perpetuated over time.50 While
    opioid sales increased gradually through the early 1990’s, in 1996, the FDA approved
    an extended-release/long-acting formulation of oxycodone, and sales accelerated,
    fuelled in part by aggressive marketing and promotion51 as well as the activities of a



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   overdose deaths involving opioids – both prescription and illicit – were six times higher
   than in 1999.65

20. In addition to the human suffering and loss of life, the epidemic poses enormous
    economic costs. Florence et al. estimated the 2013 costs of the epidemic at $78.5
    billion, including ~$21.5 billion for fatality costs and ~$57 billion for non-fatality costs.66
    More recently, in 2017, U.S. Council of Economic Advisers (CEA) estimated the 2015
    costs of the epidemic at $504 billion, or 2.8% of the Gross Domestic Product (GDP).67
    These estimated costs included ~$432 billion for fatality costs and ~$72 billion for non-
    fatality costs. The difference between Florence and the CEA estimates are driven by
    growth in the epidemic and fatality costs, and note that these are annual costs; the
    10-year present value of costs range from $682 billion to $4.3 trillion.4

21. In Ohio, the opioid crisis has been particularly acute, including in Cuyahoga and
    Summit Counties. There was a 41% increase in overdose mortality in Cuyahoga
    County from 2006 to 2014, including a four-fold increase in heroin-related deaths (49
    deaths in 2006 to 198 deaths in 2014).68 In 2017, the number of fatal opioid overdoses
    in Ohio, 4,293, exceeded those of any other state,69 while in Cuyahoga County, fatal
    overdoses reached a record-high of 727 deaths.70 Fentanyl-associated deaths have
    also soared, from 37 deaths in 2014 to 492 deaths in 2017.71 72 In Summit County,
    mortality from drug overdoses in 2015 and 2016 (480) was equivalent to the entire
    decade before, from 2000-2009 (474)73, with fentanyl as the most commonly identified
    cause of death amongst drug-related deaths in 2015, followed by morphine and
    heroin.74 At the height of the epidemic in July 2016, there were as many as 19 total
    drug overdoses in emergency rooms per day in Summit County75, up from an average
    of ~2.5 overdose emergency room visits per day in 2012-2015.76

22. Cuyahoga County and Summit County have made great strides to address the
    epidemic, and the counties continue to invest heavily to abate the crisis. The
    Cuyahoga County Opiate Task Force (CCOTF), formed in 2010, has grown since its
    inception and is composed of nearly 200 individuals working in tandem across 65
    member organizations representing public health officials, law enforcement, health
    care providers, physicians, pharmacists, drug treatment and recovery services,
    mental health services, educators, concerned citizens, and individuals in recovery.77
    In 2016, the CCOTF’s activities included the launch of a three-month Heroin/Fentanyl
    Prevention Awareness Campaign, increased naloxone distribution through local
    pharmacies and law enforcement, and increased funding for MOUD, particularly for
    drug court participants.78 79 The CCOTF also worked with law enforcement to establish
    30 permanent medication drop boxes and participated in designated drug takeback
    days, collecting more than 100,000 pounds of expired medication. Since then, it has
    also helped facilitate evidence-based education on prescription drug misuse/abuse
    for more than 2,000 middle and high school students. It has also created a mandated
    physician education module that covers use of the state’s Prescription Drug
    Monitoring Program (PDMP), screening tools, and prescribing guidelines. During the
    past three years the Summit County Opiate Task Force (SCOTF) has similarly invested


4 Ten-year present value costs based on applying “present value of annuity” formula with a 3%

discount rate. Formula available at: http://financeformulas.net/Present_Value_of_Annuity.html



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   in addressing the epidemic, such as by increasing the availability and training in the
   use of naloxone among law enforcement, expanding residential treatment and
   detox capacity and establishing a Summit County Safe Needle Exchange as well as
   a drug testing program.80 81 82 The SCOTF has also partnered with pharmacies,
   emergency medical services, and hospitals to distribute more than 60,000 prescription
   drug disposal pouches, and has helped significantly expand the County's detox
   center.83 84 Quick Response Teams visit residents within seven days of an overdose to
   connect them to treatment services and to provide naloxone training to friends and
   family.85

23. Data from 2018 suggest some gains. For example, in Cuyahoga County, from 2017 to
    2018 overdose deaths related to fentanyl and heroin are estimated to have dropped
    from 492 to 404 and 240 to 153, respectively.86 In Summit County, total overdose
    deaths declined from 310 in 2016 to 105 in 201887, and overdose-related Emergency
    Department visits in the County have declined from an average of ~6.5 per day in
    2016-201788 to an average of 3.0 overdoses per day in October 201889 and 3.8
    overdoses per day in January-February 2019. 90

24. Despite these investments, which have helped to a degree, many more resources will
    be needed to fully abate injuries and deaths in Cuyahoga and Summit Counties, as
    demonstrated by continued evidence of substantial harms and a continuing
    epidemic. I have noted the need for these in my visit to Akron and review of materials
    to prepare this report, and these needs are also referenced in Katherine Keyes’ expert
    report. For example, based on my assessment of materials in preparation for this
    report: rates of overdose remain high;91 92 children are being adversely effected
    because of drug exposure, death of parents, and other trauma;93 94 neonatal
    abstinence syndrome has increased;95 resources are stretched;96 treatment remains
    in short supply;97 and a lack of coordination further prevents people who need
    treatment being connected to the services that can deliver it. Similarly, as noted by
    the Cuyahoga County’s Medical Examiner Thomas Gilson during a January 2019
    interview, “We are by no means back to where we were before the crisis started and
    these [2018] numbers, while encouraging, really indicate we need to strenuously
    continue our efforts.”98

25. Though the current opioid epidemic is the worst drug epidemic in our nation’s history,
    it is not the first opioid crisis we have had.99 In mid- to late-19th century, opioid use rose
    dramatically, fuelled by unrestrained prescribing and liberal use of opioids to treat
    Civil War combatants and veterans.100 Historical precedent suggests that the current
    crisis can be successfully reversed with a multi-faceted approach that addresses the
    root causes of the epidemic, including misleading marketing and promotion and
    widespread overprescribing, while also investing in treatment and recovery.101 Further
    investing in law enforcement is also important. My report presents key, evidence-
    based recommendations that should be implemented to abate the opioid epidemic
    by both minimizing further unnecessary exposure to opioids and addressing the harms
    that have already been caused.


PROBLEM CAN BE SOLVED




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30. Some abatement approaches may be framed in the context of looking forward five
    or ten years.5 However, the legacy of the opioid epidemic will endure far beyond
    that. Prevention of new cases of addiction will require long-term investments in
    research and training to transform the culture of pain treatment in America. While
    opioid use disorder can be treated and may remit, it is not curable, and some
    individuals with opioid use disorder will require treatment indefinitely.113 114 115 Others
    have acquired HIV or other Hepatitis C from an addiction that began with prescription
    opioids,116 117 and they may require indefinite care for these comorbid conditions.
    Foster care for those orphaned by the epidemic, child protective services, and
    services for children impacted by opioid use in utero must be resourced to address
    the needs of children and young adults as they grow and develop. For many, living
    healthy, productive lives in recovery is an active process, and thus to be successful,
    individuals must be supported with long-term resources to maximize their opportunities
    for success.


MISCONCEPTIONS MUST BE ADDRESSED
31. In order to address and abate the epidemic, it is also important to eliminate common
    misconceptions about opioids and the ensuing epidemic, since inaccurate,
    misleading or false statements about the epidemic have allowed it to flourish. For
    example, during the first decade of the epidemic, some said that if a patient has
    “organic” pain, one need not worry about the addictive potential of opioids. I was
    taught this as a resident in Internal Medicine at the University of Pennsylvania in the
    late 1990’s, and I was part of an entire generation of health care professionals who
    were not properly trained on this point. This approach led me, and my fellow
    physicians, to prescribe opioids much more liberally than we might have otherwise for
    patients who had a clear source of their pain (e.g., broken bone, cancer, recent
    surgery, inpatient procedure), viewing these patients as “legitimate pain patients”6,
    while overlooking the paucity of evidence that the source of a patient’s pain protects
    them from developing an opioid use disorder or other adverse event.

32. Another misconception that is important to understand and correct is that the primary
    driver of the epidemic is one of abuse, rather than addiction.118 (Dependence is
    distinct from both of these and discussed further in Paragraph #51). This has been one
    of the most destructive and widely circulated misconceptions about the epidemic,
    because it has been used to argue for a reliance on ineffective solutions (e.g., risk
    mitigation measures such as patient contracts or unscheduled pill counts) while
    allowing for the crisis to flourish. Abuse is a behavior. Addiction is a brain disease and
    not one that is simply a function of “bad choices”.119 It requires different approaches
    to support prevention, treatment and recovery as discussed herein.

5 This medium-term view strikes a balance – it is long enough to support infrastructure development
and several cycles of planning and evaluation while avoiding some of the uncertainty entailed in
trying to anticipate the magnitude of sequelae from the epidemic that may last decades or even
generations.
6
  The notion of a “legitimate pain patient” also reinforces stigma against those with non-medical
opioid use or addiction who commonly have pain, suggesting that pain that they experience is
not “legitimate”.




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     having first used prescription opioids, the vast majority do not. There is not a zero-sum
     game between efforts to reduce the oversupply of prescription opioids and efforts to
     reduce heroin/illicit fentanyl use. However, it is vital that comprehensive interventions
     take place so that as the oversupply of prescription opioids is reduced, individuals do
     not transition to heroin or illicit fentanyl and treatment for opioid misuse and OUD is
     available to all in need.

MOVING FROM A NATIONAL TO A COMMUNITY FOCUS
35. The opioid epidemic has impacted communities differently. Because of this, there is
    not a one-size-fits-all approach with respect to the abatement remedies. For
    example, some communities have been ravaged by fentanyl, while others have not.
    In some communities, large investments have been made to reduce the oversupply
    of prescription opioids, while in other communities, this remains a pressing matter.
    Some communities have invested heavily in naloxone distribution and training, others
    have struggled to identify the resources for such programs. Because of this variation,
    while each of the remedies are worthy of consideration, some will be far more
    important than others in specific communities, and stakeholders should be consulted
    as abatement remedies are iteratively designed, deployed and evaluated at local
    levels.9 These stakeholders include, but are not limited to, public health and law
    enforcement; treatment providers and systems; behavioral health providers and
    systems; educators; community advocates; employers; payers; and the courts.

 36. The foundation of any community’s response should be a comprehensive needs
     assessment, which is based on a systematic approach for reviewing the public health
     needs faced by a population. Such an assessment enables community leaders to
     objectively determine the key public health issues in local populations, and provides
     a better understanding of how to prioritize and allocate resources in order to
     efficiently address these issues.123 124 Public health needs assessments may use a
     combination of epidemiologic, qualitative and comparative methods to incorporate
     clinical, ethical and economic considerations when determining solutions, i.e. "what
     should be done, what can be done, and what can be afforded."125 Furthermore,
     needs assessments are not only intended to measure ill health, but also to incorporate
     the concept of "capacity to benefit" in order to place emphasis on interventions
     producing tangible benefits to specific community populations.

 37. There are many frameworks that can be used to conduct a needs assessment and
     several tools are available to guide their development and implementation.126 127 128
     Regardless of the framework that is selected, assessment can be broadly separated
     into six main steps.129 130 131
         1) Scoping the needs assessment: Defining population to be studied, identifying
              assessment objectives and understanding resources available to support it.
         2) Defining stakeholders, community leaders and sources of information:
              Articulating relevant participants, reviewing existing data sources (e.g., PDMP,

 9 Although nearly all of the remedies discussed herein are directly relevant to Cuyahoga and
 Summit counties, a few, such as the need for greater investment in the research infrastructure to
 identify new treatments for pain and OUD, are primarily relevant at federal rather than state or
 local levels.



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      dependent upon the simultaneous intervention of other strategies. For example,
      initiatives to decrease stigma and educate law enforcement and other community
      members about addiction may increase the demand for treatment, while expansions
      in treatment capacity to meet such demand may decrease rates of active OUD,
      which in turn may decrease overdose deaths and the need for naloxone. The
      dynamic nature of the epidemic, as well as the potential for these sorts of interactions,
      speaks to the vital need for surveillance and leadership as outlined in Paragraphs
      #126-#136 This will maximize the ability of communities to respond effectively to near
      real-time intelligence regarding key parameters of the epidemic and thus to use, and
      redirect, resources to maximize their public health value.


ABATEMENT CATEGORIES
40. There are three major categories of remedies that must be undertaken to address the
    epidemic.12 13 First, we must improve the safe use of prescription opioids and
    treatment of pain, since opioid oversupply has been a key driver of the
    epidemic.135 136 Second, we must identify and treat individuals with opioid use
    disorder. This is important because even if prescription opioids were to be responsibly
    marketed, promoted and used beginning tomorrow, there are still several million
    Americans with opioid use disorder, many of whom require active treatment and all
    of whom deserve access to care if and when treatment or recovery services are
    sought. Third, we must customize abatement remedies for specific subpopulations,
    including: individuals within the criminal justice system, children, adolescents, and
    young adults; child in foster care and protective services; pregnant women and
    neonates; and African Americans, American Indians and Alaskan Natives (AIANs). We
    must also address the large number of individuals who may misuse opioids but who
    do not yet not fulfil formal criteria for an opioid use disorder. While I outline a
    comprehensive set of abatement remedies, as well as consider some contextual
    factors relevant to their local application (e.g., Paragraphs #35-#39), significant
    progress can be made in abating this crisis through various elements and
    combinations of these elements. I leave the task of defining the specific application
    of these programs for Cuyahoga and Summit Counties to the communities
    themselves, with assistance where needed from experts participating in the MDL and
    other outside consultants.
     Category 1: Reducing Opioid Oversupply and Improving Safe Opioid Use
           1A. Health Professional Education
           1B. Improving Pain Treatment
           1C. Prescription Drug Monitoring Programs & Clinical Decision Support
           1D. Patient and Public Education
           1E. Drug Disposal Guidelines and Programs


 12 Other interventions are important in addressing the epidemic yet beyond the scope of this
 report, such as changes to coverage and reimbursement policies so as to improve options for
 pain treatment and reduce financial and non-financial barriers to treatments for opioid use
 disorder.
 13 While there are other ways to classify potential remedies, the elements within these remedies

 are remarkably consistent across different proposals, reflecting the widespread consensus about
 what needs to be done.



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            1F. Expanding Scientific Knowledge

        Category 2: Identifying and Treating Individuals with Opioid Use Disorder
           2A. Treatment for Opioid Use Disorder
           2B. Peer Coaches, Recovery Housing and Jobs Training
           2C. Naloxone Distribution and Training
           2D. Harm Reduction Interventions
           2E. Surveillance and Leadership

        Category 3: Caring for Special Populations
           3A. Individuals Within Criminal Justice System
           3B. Children, Adolescents and Young Adults
           3C. Children in Foster Care and Child Protective Services
           3D. Pregnant Women and Neonates
           3E. African Americans, American Indians and Alaskan Natives
           3F. Individuals with Opioid Misuse

CATEGORY 1: REDUCING OPIOID OVERSUPPLY AND IMPROVING SAFE OPIOID USE
The goal of this category is to reduce the widespread oversupply of prescription opioids
so as to decrease injuries and deaths from these products.14 This is important because the
oversupply of prescription opioids during the past two decades has been an important
driver of the opioid epidemic.15 Harm from this oversupply arises from many points in the
continuum of care, ranging from how clinicians treat pain to the diversion of opioids
throughout the supply chain.

CATEGORY 1A. HEALTH PROFESSIONAL EDUCATION
The goal of this remedy is to train health care providers, including prescribers and other
health care personnel, such as dispensers (pharmacists) and emergency medical
technicians (EMTs), regarding the appropriate use of opioids in clinical practice, as well
as how to identify and appropriately respond to patients who may have an opioid use
disorder. This is important because historically, many providers have overestimated the
effectiveness of opioids and/or underestimated their risks. This has contributed to the
oversupply of opioids, not only with respect to whether they are used at all, but also with
respect to the dose and duration of use. In addition, opioid use disorder is often not
recognized in clinical practice, and even when recognized, the delivery of treatment
and recovery services often falls short.

41. Many types of provider education should be performed, and this training should be
    customized to address the learning and professional development needs of different
    audiences. For example, medical, nursing and other health professional trainees


14This report excludes consideration of Drug Enforcement Agency (DEA) quotas, controlled
substance scheduling and other mechanisms federal government may use to reduce supply of
opioids or precursors in the marketplace.
15 Reductions in opioid oversupply will also decrease opioid demand, since opioids are highly habit

forming, tolerance quickly develops and a substantial minority of individuals receiving chronic
opioids develop OUD.



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   should have comprehensive, longitudinal exposure to principles of pain
   management, the appropriate role of opioids, and the diagnosis and treatment of
   individuals with opioid use disorder. Graduate medical education programs,
   including internships, residencies and fellowships, should expand more advanced
   training in these areas, as well as facilitate the completion of waivers allowing for the
   prescription of buprenorphine for the treatment of OUD.137 138 Practicing clinicians,
   especially prescribers, should also have additional opportunities for continuing
   professional education through workshops and seminars, as well as through more
   applied clinical interventions such as audit and feedback and other reminder
   systems.139

42. One of the most systematic and well-studied approaches at direct training of
    prescribers, sometimes referred to as “academic detailing”, should also be
    employed. Academic detailing is a method of evidence-based, interactive outreach
    to prescribers that uses trained personal make face-to-face visits with clinicians to
    promote optimal prescribing and improve the quality of patient care. Established in
    the 1980’s, there are dozens of studies that provide evidence of its value140 141 142 143,
    including a recent investigation indicating large decreases in opioid prescribing
    following a multi-level intervention that included academic detailing.144 A systemic
    review of the impact of provider education, the most comprehensive assessment of
    its kind, concluded that this strategy results in significant improvements in prescribing
    quality145, and is consistent with a large literature overview examining the
    effectiveness of interventions to shape prescriber behaviour.146

43. Academic detailing should be considered for at least four types of health care
    providers:
     Licensed prescribers, such as physicians, dentists, nurse practitioners and
       physicians’ assistants, are important to target because they issue prescriptions for
       opioids and other analgesics.
     Nurses, especially in settings such as Emergency Departments, urgent care settings
       and other settings where opioids are commonly used, should be targeted
       because they are in an influential position to shape the culture of pain
       management and to raise awareness about evidence-based methods to identify
       and treat pain and opioid use disorder.
     Dispensers, or pharmacists, should be targeted because they dispense opioids
       and are increasingly responsible for implementing drug utilization management
       policies and practices designed by payers and pharmacy benefits managers
       (PBMs).
     Emergency medical technicians (EMT’s), are important to reach because they are
       often the first point of contact with individuals who have overdosed, and thus in a
       key position to bridge a common treatment gap that contributes to low rates of
       evidence-based treatment for OUD, namely, individuals who are resuscitated but
       not connected with OUD treatment.
44. Resources permitting, education of other health care personnel, such as pharmacy
    technicians and physical therapists, should also be undertaken. Since opioid
    oversupply, as well as opioid use disorder, are both so common, these personnel also
    regularly engage with patients who have a high likelihood of being harmed by the
    epidemic, and thus they too are in a position to support a required cultural shift in the



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     paradigm of pain and opioid use disorder (OUD) identification and management in
     the United States.

45. While there are many criteria that could be used to select physicians who should be
    detailed, a conservative approach might focus on ~10% of all active, ambulatory
    patient-care physicians - those that account for the highest prescribed opioid
    volume.16 Because opioid prescribing is highly skewed, such a focus, properly
    designed, could reach prescribers accounting for the majority of opioids in the
    marketplace. For example, we previously found that fewer than 5% of prescribers in
    Florida accounted for approximately two-fifths of opioid prescriptions and two-thirds
    of opioid volume during a given calendar year.147 Similarly, a study of workers
    compensation claims in California indicated that approximately 87% of opioid volume
    was accounted for by the top 10% of prescribers.148

46. Since academic detailing should target high volume prescribers, it must be based on
    information regarding specific individuals’ prescribing behaviors. One source of such
    information would be states’ Prescription Drug Monitoring Program (PDMP) data. As
    discussed in Paragraph #59, every state in the country now has a PDMP, and these
    programs compile and redistribute controlled substance prescribing information for
    clinical and law enforcement purposes. However, in many states, restrictions on
    access to PDMP data might prevent their use for this purpose and legislative efforts to
    broaden their availability would be uncertain and, at best, delayed.

47. An alternative source of similar data would be from a market intelligence firm such as
    Symphony Health or IQVIA. These companies license data regarding prescription
    drug prescribing to pharmaceutical companies and other clients, and in contrast to
    PDMPs, would represent a single source of more efficiently gathered, much better
    curated and more timely information regarding both physician and non-physician
    prescribers (e.g., advanced nurse practitioners, physicians’ assistants).149

48. The value of provider education lies in the quality of the information that is delivered.
    Thus, the information must be of the highest quality and from the most reputable
    sources. A natural foundation for this effort would be the 2016 Centers for Disease
    Control and Prevention (CDC) Guideline for Prescribing Opioids for Chronic Pain,
    given the credibility of the CDC, the extraordinary rigor that was exercised in its
    development, as well as the widespread endorsement that it has received.150 This
    Guideline could be cross-referenced with other guidelines and sources used by
    established provider education programs already underway on opioids.151 152 In
    addition to delivering information about best practices, academic detailing should
    also include reports so that individual prescribers or dispensing pharmacists can
    review and critically evaluate their prescribing or dispensing patterns relative to peers



16While this discussion focuses on ambulatory care, an increasing number of evidence-based
guidelines are also available for the post-surgical setting, where opioids have also been heavily
oversupplied; an academic detailing program should also be considered for these prescribers as
well.




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     at local, regional and national levels, as well as identify instances of prescribing or
     dispensing that may warrant closer and more critical evaluation.

49. Provider education has to deliver a limited number of focused messages or it will not
    be effective. The CDC Guideline for Prescribing Opioids for Chronic Pain17 includes
    twelve scientifically supported "clinical reminders" that can be used as basis for
    provider education modules:
         1) Opioids are not first-line or routine therapy for chronic pain;
         2) Establish and measure goals for pain and function;
         3) Discuss benefits and risks, as well as the availability of non-opioid therapies
             with patients;
         4) Use immediate-release opioids when starting opioid therapy;
         5) Start with the lowest effective dosage and use caution when titrating the
             dose (avoid increasing dosages by ≥ 90 morphine milligram
             equivalents/day);
         6) When treating acute pain, prescribe quantities no greater than what is
             needed for the expected duration of pain that is severe enough to warrant
             opioids (often no more than 3 days);
         7) Follow-up and re-evaluate risks and benefits with patients as they continue
             opioid therapy, and should the harms of continued opioid therapy outweigh
             the benefits, taper to a lower dosage or taper and discontinue opioid
             therapy;
         8) Evaluate risk factors for opioid-related harms and incorporate risk mitigation
             strategies into treatment regimens;
         9) Utilize PDMP data to determine whether a patient is receiving other therapies
             that put them at risk;
         10) Urine drug testing should be utilized to assess for the presence of other
             medications and illicit substances;
         11) Avoid concurrent benzodiazepine and opioid treatment; and
         12) Arrange treatment for patients with opioid use disorders.153

50. The CDC Guideline runs counter to prior consensus statements and clinical guidelines
    in several ways. For example, very early in the opioid epidemic, the American
    Academy of Pain Medicine and the American Pain Society issued a consensus
    statement that endorsed the use of opioids to treat chronic, non-cancer pain, arguing
    that “studies indicate that the de novo development of addiction when opioids are
    used for the relief of pain is low”.154 By contrast, the CDC Guideline underscores the
    risks of addiction and other adverse events related to prescription opioids,
    recommend lower dosages, focus on improving safe use among all, rather than
    “high-risk”, patients, and provide more specific guidance regarding how to best
    monitor opioid use and establish thresholds for stopping them in the setting of
    unfavourable risks/benefit balance.155


17While the CDC Guideline is one of the most comprehensive, authoritative and widely cited
opioid guidelines, any academic detailing program as part of an abatement remedy should be
based on an assessment of the most current and suitable sources of information for such a
program.




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51. Training on the management of patients who have been maintained on chronic
    opioids is also important, especially the subset of patients on high-dose opioids (e.g.,
    greater than 90 morphine milligram equivalents per day). Since patients using opioids
    chronically are physically dependent on them,18 they must not have their opioids
    abruptly discontinued, nor should tapering be performed unilaterally. An increasing
    number of guidelines for tapering opioids among these individuals are available.156 157
    These guidelines include information on when tapering should be considered among
    patients on long-term opioid treatment, which often occurs when adverse effects or
    the risk of adverse effects (e.g., sedation, drowsiness, constipation, nausea) outweigh
    potential benefits with respect to reductions in pain and improvements in physical,
    psychological and/or social functioning.158 The guidelines also speak to the optimal
    management of individuals who, based on taper failure, may fulfil criteria for
    persistent opioid dependence and who may be best managed through long-term
    opioid treatment with treatments such as buprenorphine or methadone.

52. The National Resource Center for Academic Detailing (NaRCAD), a center aimed to
    support clinical outreach education programs, provides an extensive directory of
    established provider education programs, including a section for those dedicated to
    opioid safety.159 For example, Alosa Health is a non-profit that has deep experience
    in this area, including state- and nationwide campaigns.160 While pharmaceutical
    companies and pharmacy benefits managers both have extensive workforces
    available for direct prescriber outreach, neither would be credible in this setting given
    the conflicts of interest that would be posed. Instead, provider education programs
    typically recruit physicians, nurses, pharmacists or other individuals with a background
    in related health disciplines to conduct outreach.

53. Regardless of the detailer’s background, it is essential that educators have no
    potential commercial conflicts of interest, have a background in a health discipline
    such as medicine or pharmacy, and receive rigorous training on how to conduct this
    outreach. Lack of clinical knowledge may cripple the detailer’s credibility with the
    prescriber, making it difficult to establish a strong relationship that promotes rational
    prescribing. Furthermore, it is also important that the outreach is repeated over time,
    with follow-up visits to encourage positive changes and reinforce key messages.

54. An academic detailing program should be included as part of any abatement plan
    within Cuyahoga and Summit Counties.19 Such an effort is feasible and could be
    highly scaled as well; numerous state-wide and even national provider education
    programs promoting safe prescribing have been conducted during the past two
    decades, including across Pennsylvania (e.g., Department of Aging Pharmaceutical

18  Within a few weeks or less, all patients using opioids develop physical dependence, a
predictable neurochemical change associated with sustained use. By contrast, addiction is far
less predictable, represents compulsive use despite harm, and is often associated with impairment
in social, psychological and/or physical functioning.
19
   Here and throughout, while I suggest remedies that should be included as part of a
comprehensive abatement plan, I leave it to the communities themselves to determine whether
elements of any given remedy are already in place and the degree to which further investment
should be undertaken.


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   Assistance Contract for the Elderly (PACE) Academic Detailing Program),161
   Massachusetts (e.g., Boston Medical Center's Transforming Opioid Prescribing in
   Primary Care)162 and the United States Department of Veterans Affairs (e.g., National
   Academic Detailing Service).163 Many health systems, including large integrated
   delivery networks such as the Kaiser Permanente,164 have also executed such
   programs. Careful review of the evidence indicates that academic detailing works
   and would be an effective abatement tool.165

55. In addition, while training and professional development of health care personnel
    such as doctors, nurses and EMTs is vital, additional educational capacity-building, as
    well as technical assistance, must be employed if the opioid epidemic is to be
    successfully addressed. For example, hospitals, health systems, integrated delivery
    networks, physician practices, long-term care facilities and other health care
    institutions and organizations should work diligently to incorporate educational
    programming and professional development services that assist in raising awareness
    and disseminating knowledge regarding the drivers of the opioid epidemic, as well as
    the role of their respective institutions in addressing it. Health systems play an
    especially important role given their broad reach and ability to promulgate evidence-
    based guidelines, as well as to engage in opioid stewardship.166 Technical assistance
    to the courts, law enforcement, substance use treatment providers and other
    stakeholders should also be provided so as to ensure that these entities are kept
    abreast of the changing contours of the epidemic and the most relevant advances
    in prevention, treatment and recovery.


CATEGORY 1B. IMPROVING PAIN TREATMENT
The goal of this remedy recognizes the principle of improving the care of those with pain
(see Paragraph #29). This is important because the under-treatment of pain served as
one of several rationales for the large increases in opioid prescribing that occurred
between 1996 and 2010, as many as two-thirds of adults with opioid misuse report pain
as the reason for such misuse,167 and many individuals with diagnosed opioid use disorder
also report chronic pain.168 169

56. Fortunately, there is increasing acknowledgement of the limited evidence supporting
    the use of opioids for the management of chronic pain.170 171 Combined with many
    studies nevertheless demonstrating their common use in this setting, this has
    underscored the importance of improving the management of individuals with acute
    and chronic pain, including through a focus on comprehensive assessments,
    multidisciplinary management and functioning rather than pain levels per se. Opioids
    represent just one of a large number of pharmacologic and non-pharmacologic
    treatments that providers and patients may use for the treatment of pain. Alternative
    pharmacologic        treatments    include   acetaminophen,      non-steroidal   anti-
    inflammatories (NSAIDs), antidepressants, anticonvulsants, and topical analgesics,172
    while non-pharmacologic treatments for pain include physical therapy, occupational
    therapy, chiropractic care, acupuncture and psychological interventions.173 In
    addition, the care of pain among those already engaged in opioid misuse or with
    opioid use disorder requires additional skill and training given the need for clinical
    management of both.



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57. As an abatement remedy, several complementary strategies should be used to
    improve the identification and management of individuals with acute and chronic
    pain in Cuyahoga and Summit Counties. First, it is critical to design, deploy and
    continually evaluate educational programs and outreach initiatives for health care
    providers. While there is an urgent need for a coordinated, evidence-based, national
    approach to pain education across federal agencies, such as the FDA, CDC and
    DEA174, implementation of comprehensive pain curricula across Cuyahoga and
    Summit Counties through coordination among local and regional stakeholders (e.g.,
    state professional societies, hospitals, health systems) should be pursued. Second,
    hospitals, health systems and ambulatory practice sites must invest in expanding their
    workforce and resources devoted to pain management (also see Paragraphs #41
    and #99). While most patients with acute and chronic pain can be suitably managed
    by primary care or Emergency Medicine physicians, a subset of patients have
    complex, chronic pain syndromes and require greater levels of supervision and care
    coordination that is overseen by pain specialists. Third, remedies to improve the
    treatment of OUD should also include investments to improve the identification and
    management of chronic pain that is often present among these individuals.175 176 As I
    note in Paragraph #40, coverage and reimbursement policies are also an important
    determinant of care patterns for pain as well as opioid use disorder.177


CATEGORY 1C. PRESCRIPTION DRUG MONITORING PROGRAMS & CLINICAL DECISION
SUPPORT
The goal of this remedy is to improve the information available to support prescribers and
law enforcement as they optimize the care of patients with pain as well as reduce opioid
diversion. This is important because clinical information systems can enhance the quality
of care that providers deliver, and prescription drug monitoring programs can be used
by law enforcement to investigate aberrant patterns of controlled substance prescribing.

58. Prescription drug monitoring programs (PDMPs) are electronic databases that can be
    used to gather, curate and disseminate information about controlled substance
    prescribing within a state. By providing prescribers and pharmacists access to
    information regarding a patient's controlled substance history, PDMPs can be used to
    identify individuals with high risk prescription opioid use. PDMP data may also be useful
    to law enforcement and professional licensing boards to identify possible misconduct,
    and consequently implement administrative action, such as revoking state
    authorization to prescribe controlled substances. Despite this, it is important to
    emphasize, as discussed in Paragraph #33, that the opioid epidemic has not been
    primarily driven by “bad doctors” or “bad patients”, and a misplaced focus on such
    a notion as PDMPs are deployed and implemented will limit their ultimate
    effectiveness at reducing opioid-related injuries and deaths.

59. Although there is conflicting literature on the impact of PDMPs, evidence suggests
    that PDMP implementation is associated with decreases in opioid prescribing,
    morbidity and mortality,178 179 180 181 especially in the setting of states’ legal
    requirements that health care providers query a PDMP in at least some
    circumstances.182 Currently, all 50 states, the District of Columbia, Guam and Puerto
    Rico have a PDMP that is operational or have indicated an intention to establish a
    PDMP.183 While PDMPs are state-level programs, interstate sharing of PDMP data has


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     also been undertaken and may be especially valuable in parts of the country where
     individuals are especially likely to seek care and receive prescriptions from providers
     and pharmacies located in different states;184 in 2017, Ohio’s Automated Rx Reporting
     System (OARRS) expanded its functionality by allowing for linkage with Pennsylvania’s
     PDMP program, completing the ability of OARRS users to review controlled substance
     PDMP data from each of Ohio’s border states.185

60. Despite the benefits of PDMPs and their ubiquitous adoption, historically many
    providers have failed to routinely register or use them except in states where such
    registration or use has been mandated. In a national survey of primary care physicians
    we performed in 2014, a majority of physicians were aware of their states’ PDMP and
    had a generally favourable belief regarding its value, yet these same providers
    reported that they did not access the PDMP consistently.186 According to a 2015
    report from the Journal of the American Medical Association (JAMA), the national
    median PDMP registration rate was 35% amongst licensed prescribers.187 Since 2015,
    states have continued to evolve their programs and policies, with a strong trend
    towards states increasingly requiring mandatory PDMP registration and use.188

61. PDMPs can be optimized by mandating that prescribers review PDMP data; allowing
    prescribers to delegate staff (e.g. nurses) to optimize workflow; requiring 24-hour or
    real-time reporting after dispensing a controlled substance; streamlining the
    registration process for PDMP participants; offering providers financial incentives
    based on PDMP use; and supporting educational and promotional initiatives such as
    workshops to train prescribers on how to access and use PDMP data.189 Though it is
    still a growing practice and many barriers remain,190 191 integrating PDMP data with
    other electronic health information systems can provide clinicians with a more
    complete medical record collated in a single source to support clinical decision-
    making.192 Other interventions to optimize PDMPs address their use by law
    enforcement. While some of these applications require legislative or administrative
    intervention, they nevertheless represent potential innovations that could be
    supported through increased infrastructure and funding as part of an abatement
    remedy.

62. PDMP data, particularly, when integrated with other health information technology,
    such as electronic health records (EHRs), can also be used as the basis for clinical
    decision support systems (CDSSs).20 CDSSs may consist of automated alerts, reminders,
    templates, or care guidelines that are designed to provide providers, patients or other
    members of the care team with customized, just-in-time information to improve health
    care quality. In this instance, such systems can be used to help improve quality of
    care of individuals with chronic pain or opioid use disorder, such as by providing lower
    defaults for the number of opioids dispensed on a first fill, prompting screening criteria



20 In other words, the value of PDMPs extends past identifying “opioid shoppers” or “rogue
prescribers”; while these individuals are important to identify, they are a symptom of rather than
the primary driver of the opioid epidemic (see Paragraph #33). Rather, PDMPs have the potential
to improve pain management services, such as for individuals at risk of opioid misuse.




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      for OUD, or by alerting clinicians when they are seeing a patient on chronic opioids
      who has already experienced an overdose or other serious adverse event.21

63. Although relatively few studies have examined the effect of CDSS in the context of
    the opioid epidemic,193 194 195 there is a much larger literature that has examined the
    effects of CDSS in other contexts. As a whole, this literature underscores that while the
    use of electronic health records may not automatically translate into higher quality
    care,196 many CDSSs improve provider performance,197 and several features of such
    systems may drive improvements in clinical practice, including their incorporation into
    the workflow and provision of recommendations, rather than simply assessments, in a
    “just-in-time” fashion.198

64. CDSS are facilitated by electronic prescriptions, which should be universally adopted
    as an additional technological approach to improve the safety and security of opioid
    and other controlled substance prescribing and dispensing. There are many
    advantages to electronic prescribing, which can reduce errors and fraud while
    improving the ability for surveillance as well as security through measures such as two-
    factor authentication.199 200

65. Ohio’s PDMP, OARRS, began operation in 2006.201 It is housed in Ohio’s Board of
    Pharmacy, an agency that has dual roles focused on both health as well as law
    enforcement, which may help facilitate PDMP implementation. The OARRS collects
    information every 24 hours on all outpatient prescriptions for controlled substances, as
    well as one non-controlled substance (gabapentin) dispensed by Ohio-licensed
    pharmacies and personally furnished by Ohio prescribers. Drug wholesalers are also
    required to report on a monthly basis information on all controlled substance and
    gabapentin that were sold to an Ohio licensed pharmacy or prescriber. The OARRS
    serves multiple functions, including minimizing the risk of drug-drug interactions,
    allowing for prescribers to review reports of their own prescribing,202 assisting law
    enforcement in cases of controlled substance diversion and identifying clinicians with
    patterns of inappropriate prescribing/dispensing. Since November 2017, Ohio drug
    courts have also been provided access to OARRS information, which may aid drug
    courts in ensuring that participants are complying with court ordered treatments.

66. As with many states, OARRS continues to transform as the state works to address the
    evolving epidemic. For example, prescribers are now required to review OARRS prior
    to initial prescription of opioids or benzodiazepines,22 203 and there are increasing
    efforts to integrate OARRS within health systems’ electronic medical records so as to
    minimize disruption of work-flow.23 There is also increasing interest in using PDMPs such
    as OARRS for clinical decision support. The ultimate utility of OARRS is only as good as

21Shockingly, evidence suggests that more than nine out of ten patients who have a non-fatal
overdose during long-term opioid use for non-cancer pain receive subsequent opioid
prescriptions (Larochelle MR, et al. Ann Intern Med. 2016;164:1-9).
22   Prescriptions for seven-day supplies or less are exempt from the mandate.
23 To be clinically useful, PDMPs have to be accessible within the electronic health record system,

rather than requiring a separate username and password. As one expert put it to me, “if it is more
than two clicks away, it is worthless”.



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   the resources that are devoted to it, and thus, as part of any abatement remedy,
   resources should be committed to offsetting its future operational costs, expanding its
   functional integration within the electronic medical record systems of hospitals, health
   systems and other service providers in the State, and increasing its usability and value
   among law enforcement.


CATEGORY 1D. PATIENT AND PUBLIC EDUCATION
The goal of this remedy is to raise awareness and activate patients and the general
public regarding the risks of opioids as well as the prevalence and treatability of opioid
use disorder. Patient and public education can help to address the fact that many
people do not understand the risks of opioids or the fact that opioid use disorder is a
treatable brain disease. It can also chip away at stigma, which serves as a profound
barrier to treatment.

67. Patient education is an important method of improving the safe use, storage and
    disposal of opioids, since there are important shortcomings in patients’ knowledge
    regarding these matters. For example, the 2016 CDC Guideline highlights the
    importance of clinicians discussing with patients the known risks and realistic benefits
    of opioid therapy before initiating treatment.204 Other professional societies and
    organizations, such as the Veterans Administration/Department of Defence Clinical
    Practice Guideline for Opioid Therapy for Chronic Pain, also emphasize the
    importance of patient education as part of a multi-faceted strategy to maximize the
    risk/benefit value of opioids in clinical practice.205

68. In contrast to public education, which is addressed below, clinicians play an
    especially important role in educational outreach targeting patients who may be
    using opioids or otherwise at risk for opioid-related adverse events. However, clinicians
    themselves must be equipped to conduct such education, and their preparation for
    this can be maximized through academic detailing or other educational outreach. In
    addition, the CDC has prepared a number of educational materials for patients
    focused on promoting safer opioid use and minimizing the risk of overdose,206
    SAMHSA’s Opioid Overdose Prevention Toolkit includes a module providing safety
    advice for patients and family members,207 and other organizations, such as the
    American College of Surgeons,208 have developed their own messaging that can be
    used to educate patients regarding different aspects of the opioid epidemic.

69. Public education is also a crucial component in abating the epidemic, and one
    important way to conduct such education is through mass media campaigns.
    Properly designed and branded, such campaigns can deliver “sticky” messages, that
    is, messages that are concrete, memorable, contagious and therefore, impactful.209
    Such messaging can serve as part of an effective intervention to positively change
    health behavior.210 Despite this, not all mass media campaigns have been successful
    in achieving their desired impact211, and their success is dependent on several factors
    including the level and duration of investment made, the planning that goes into the
    campaign and the availability of concurrent treatment and other services. A mass
    media campaign may include a variety of media, including television, radio,
    billboards, and social media. Though there is limited literature on mass media



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   campaigns focusing on opioids, there is robust information from campaigns on
   alcohol, tobacco and other illicit substances.

70. A number of these campaigns can be used as models when designing a nationwide
    campaign to address the opioid epidemic. For example, Idaho's Meth Project was
    aimed at reducing methamphetamine use through a comprehensive approach of
    public service announcements, community outreach, public policy approaches and
    in-school lessons. Following the campaign's initiation in 2007, Idaho experienced a
    56% decline in meth use amongst teens.212 The U.S. Food and Drug Administration's
    award-winning youth tobacco prevention campaign, “The Real Costs”, is another
    example of a relatively recent mass media campaign. This campaign was launched
    nationally on multiple platforms, including TV, radio, print and social media. The
    campaign was focused on reaching youths, 12 to 17 years old in the United States,
    who were open to trying smoking or were already experimenting with smoking. In
    2014-2016, high exposure to the campaign was associated with a 30% decrease in
    the risk of smoking initiation amongst youths.213

71. While several mass media campaigns addressing the opioid epidemic have also
    been conducted,214 215 less is known regarding their impact, although early findings
    suggest their potential utility. For example, in January 2017, then New Jersey Governor
    Chris Christie rolled out the REACH NJ initiative aimed at raising awareness about the
    availability of new addiction treatment services in New Jersey.216 The initiative
    included television ads airing on New Jersey, New York and Philadelphia television
    stations. As of January 2018, more than 18,600 people have called the ReachNJ
    hotline, with the frequency of calls at least three times higher in April-June 2017, when
    television and radio ads were on air, compared to July-August, when only digital ads
    were used.217 Another example focused on opioids was launched by the Ohio
    Department of Health. This education and awareness campaign, Prescription for
    Prevention: Stop the Epidemic, has included public service announcements, drug
    disposal guidelines, and both county and state-level factsheets to prevent non-
    medical prescription drug use.218 A third example was designed to raise awareness
    about a new law increasing naloxone access and providing legal protection for
    people who call 911 to report an overdose. This state-wide media campaign, the
    Good Samaritan Law Awareness & Naloxone Access Media Campaign, was
    launched ~2013 by the North Carolina Harm Reduction Coalition (NCHRC), focusing
    on leveraging inexpensive platforms such as social media, printed flyers, public
    service announcements and local media. The NCHRC reported that the media
    campaign was effective in building connections with the local community and
    helping the organization become established as “the go-to expert for local media”
    regarding the opioid epidemic.219

72. Any abatement program in Cuyahoga and Summit Counties should include
    investments in educational campaigns targeting patients and the general public.
    While both counties have invested in educational campaigns around drug disposal
    and safe opioid use over the past several years, including dissemination of SAMHSA
    materials, greater resources are required educate patients and the general public.
    Multimedia campaigns should include experts in health communications and public
    safety and be carefully designed to fully address widely prevalent yet insidious stigma
    that erodes effective community responses to the epidemic, treating addiction as a


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   options to assist patients in disposing unused medicines, especially for homebound
   patients or others with special needs.

76. Historically, permanent collection sites have been uncommon due to administrative,
    legal and economic barriers. As of 2017, the United States Government
    Accountability Office reported that only 2,233 of 89,550 eligible entities (2.49%), such
    as pharmacies, hospitals/clinics, narcotic treatment programs, reverse distributors,
    distributors and manufacturers, were registered as authorized collectors of unused
    prescription drugs.228

77. There are four major components to consider when establishing a drug disposal
    program: promotion; staffing; equipment and supplies; and disposal.229 230 Programs
    can be promoted through varied means ranging from pharmacy posters or
    informational stickers on pill bottles to the use of social media to promote a drug
    disposal event. Staffing needs will vary based on the magnitude of work involved.
    Equipment, supplies and frequency of disposal will depend upon the volume of drugs
    collected. For example, a 6-month pilot program established in 5 different
    pharmacies in rural counties in New York collected an estimated 300 lbs. of
    prescription medicines in 2016.231 By contrast, between 2014 and 2016 the Winchester
    Police Department's Drug Collection Unit collected approximately 1,240 lbs. of
    medication from a single, “24-7”, collection site for unused and expired
    medications.232

78. Despite their importance, historically, drug disposal programs have only re-collected
    a small proportion of the total number of controlled substances dispensed, with
    collected drugs also including a mix of other medications such as antibiotics, oral
    contraceptives and cardiovascular treatments.233 Furthermore, the U.S. Food and
    Drug Administration directs that certain prescription medicines, such as opioids,
    should be immediately flushed down the toilet when no drug disposal program option
    is readily accessible.234 Patient and pharmacist education regarding how to properly
    dispose of opioids is important. In the absence of drug disposal programs, other routes
    of disposal include mixing unused opioids with inedible garbage (e.g. cat litter) or
    using specialized chemicals that trap the unused pills in a non-divertible and
    biodegradable matrix.235

79. Any abatement program in Cuyahoga and Summit Counties should include
    investments to educate individuals regarding safe opioid storage, as well as to
    expand the availability and convenience of drug disposal programs. These programs
    should be implemented throughout community pharmacies as well as urgent care
    centers, hospitals, health systems, and law enforcement facilities. For select
    populations, such as homebound elderly or others with special needs, it may also be
    helpful to invest in mail-back options and/or distribution of biodegradable
    technologies that allow for safe and convenient at-home disposal.

CATEGORY 1F. EXPANDING SCIENTIFIC KNOWLEDGE
The goal of this remedy is to generate fundamental new knowledge that will ultimately
translate into safer treatments for pain and opioid use disorder, as well as increased
knowledge regarding how interventions can best be disseminated and implemented in


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communities across the country. The development of new treatments is important
because both pain and OUD are common, and while both have a number of FDA-
approved treatments, just as with treatments for cancer, cardiovascular disease and
mental illness, these treatments are not perfect.

80. Scientific research is a key component in the fight to end the opioid crisis.236 Ensuring
    funding for scientific research will help to enhance the safety and effectiveness of
    current interventions as well as to develop new technologies and approaches to aid
    lawmakers, healthcare professionals, affected communities, and other stakeholders
    committed to addressing the crisis. In 2018, the National Institutes of Health (NIH)
    launched the HEAL (Helping to End Addiction Long-term) Initiative to speed scientific
    solutions to end the epidemic.237

81. Developing non-opioid and safer opioid pain medications is crucial to reduce
    reliance on addictive prescription opioids to address the problem of untreated pain.
    There are several, potentially promising, new treatments that remain under
    development. For example, animal studies of “biased opioid agonists” that produce
    pain relief via the mu-opioid receptor have produced promising yet very early results;
    the mechanism of action for these compounds does not depend on the “rewarding
    pathway” and does not cause respiratory depression like currently approved
    opioids.238 Other non-opioid-based approaches may also lead to new therapeutics
    such as brain-stimulation technologies, sodium channel blockers and cannabinoids.
    Accelerating research to further develop these approaches may offer patients with
    chronic pain and their healthcare providers more effective, and safer, less addictive,
    alternatives to currently available opioids.

82. Research is also needed to develop innovative technologies and medications to
    expand the number of treatment options for opioid addiction. Fortunately, there is
    ample evidence to support the effectiveness of current opioid addiction medications
    including the opioid agonist methadone, partial agonist buprenorphine, and
    antagonist naltrexone.239 However, not all patients are successfully treated with these
    MOUDs. Some experience cravings and compulsions so powerful that they
    discontinue MOUD and return to active addiction. Others experience adverse effects
    from MOUD, such as nausea, abdominal pain or sedation, that prevent its continued
    use. Others are hindered by chaotic lives, social determinants of health (e.g., poverty,
    lack of education) and other factors (e.g. intimate partner violence, trauma) that
    disrupt adherence to a medicine regimen that generally requires daily administration
    and relatively high levels of functioning. Recent advances in the field include longer
    acting formulations of products such as buprenorphine that obviate the need for daily
    administration and decrease the potential for diversion; for example, a long-acting,
    once-monthly, clinician-administered, injectable formulation of buprenorphine was
    approved by the FDA in November 2017.240 Other advances that remain in earlier
    stages of development include vaccines that prevent opioids from entering the brain
    by utilizing the body's own immune system and safer treatments for opioid use
    disorders that depend on modifying brain circuits or that have novel molecular targets
    such as the kappa-opioid receptor.241 242

83. While naloxone is an effective overdose-reversal intervention that has saved many
    lives,243 there is also an urgent need to develop additional overdose-reversal agents


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   and technologies. In some cases, usual doses of naloxone are not sufficient to reverse
   fentanyl and other highly potent synthetic opioids overdoses.244 Additionally,
   bystanders may not reach persons who experience an overdose in time to administer
   naloxone. Developing new technologies and medications to reverse opioid overdose
   that are more powerful, longer-lasting, and that intervene automatically to stimulate
   respiration may decrease overdose mortality from opioids.

84. Although basic science and clinical research on safer treatments for pain and opioid
    use disorder are important, it is also vital to invest in scientific research that rigorously
    appraises community-level interventions to address the epidemic. For example, the
    National Institutes of Health’s HEALing Communities Study represents an ambitious
    undertaking on the part of the NIH “to test the immediate impact of an integrated set
    of evidence-based interventions across healthcare, behavioral health, justice, and
    other community-based settings to prevent and treat opioid misuse and opioid use
    disorder within highly affected communities”.245 While the precise nature of these
    programs has yet to be determined, interventions likely to be pursued include many
    of those discussed herein, ranging from prescriber education to naloxone distribution
    to expansion of OUD treatment within the criminal justice system. The primary
    motivation for this study is the fact that so many effective, evidence-based
    interventions to reduce opioid-related morbidity and mortality exist yet are not being
    adequately implemented and scaled in hard hit communities around the country.
    While the HEALing Communities Study is likely to make a valuable contribution to our
    knowledge of how to bring evidence-based interventions to scale, it is also important
    that resources are invested in carefully evaluating the effects of innumerable other
    interventions within clinical, behavioral health, justice, and other settings in
    communities across the U.S.

85. Local communities such as those within Cuyahoga and Summit Counties can play an
    important role in the generation of new scientific knowledge regarding how to best
    design, implement, and evaluate abatement remedies to reverse opioid-related
    injuries and deaths. However, broad dissemination and implementation of successful
    strategies from Cuyahoga and Summit Counties will only be possible if the program
    evaluations are incorporated early and throughout the process of implementation of
    remedies.

CATEGORY 2: IDENTIFYING & TREATING INDIVIDUALS WITH OPIOID USE DISORDER (OUD)
The goal of this category is to better identify individuals with OUD and to remove clinical,
economic and social barriers diminishing their access to comprehensive, coordinated
high-quality care.24 One important principle is to close treatment gaps. For example,
some individuals who overdose in the field are not formally evaluated or successfully
linked with treatment246 247, while many others, even if brought to an Emergency
Department, are discharged rather than transferred to an inpatient detox/rehabilitation
facility, enrolled in an intensive outpatient (IOP) program or initiated on MOUD.248
However, many other interventions are necessary in addition to the closure of treatment


24 It is also important to consider individuals with opioid dependence and non-medical use who

may not yet fulfil formal criteria for an OUD; I consider these individuals in Paragraphs #170-174



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gaps, including a transformation of the delivery system so that it “mainstreams” addiction
care and delivers it as consistently and compassionately as it does care for pediatric
cancer or amyotrophic lateral sclerosis (ALS).


CATEGORY 2A. TREATMENT FOR OPIOID USE DISORDER
The goal of this remedy is to provide patients with opioid use disorder readily accessible
treatment. Such treatment should include access to FDA-approved MOUD, since these
are efficacious treatments that not only reduce the likelihood of opioid use, but also the
risk of overdose, criminal activity and the transmission of infectious disease.249 However,
not everyone with OUD requires MOUD, and even when it is provided, it should be part
of a full continuum of care, including care that addresses other acute, chronic and
preventive needs.

86. People enter the treatment system multiple ways. Some have a near-fatal overdose
    and first have contact with EMTs or through evaluation in Emergency Departments or
    acute care facilities. Others come to the attention of Emergency Medicine, primary
    care, or other health care providers as they seek care for unrelated needs. Yet other
    individuals are first identified through syringe exchange programs or other harm
    reduction or community-based outreach, while some are identified through contact
    with the criminal justice system. There are opportunities to improve the identification
    and treatment of individuals with OUD within each of these settings, and the larger
    the gaps, the more people will fall through them. Therefore, multiple methods are
    needed to connect people to services, including through direct referral and transfer
    such as may occur from a hospital or Emergency Department, as well as through the
    use of a variety of human and technological resources including: 24-7 hotlines, or
    “treatment connectors”; web-based platforms to provide a centralized, easy to use
    repository of information for those seeking care; and adequate staffing of social
    workers, case managers and addiction counselors in clinical, behavioural, criminal
    justice and community settings.25

87. The FDA has approved three medications for the treatment of OUD and the choice
    of medication should be tailored to the unique needs of each individual.
         1) Methadone is an opioid agonist, which means it can activate opioid
            receptors in the brain and provide pain relief similar to other opioids. It can
            prevent withdrawal symptoms, reduce cravings and block the euphoric
            effects of other opioids. However, due to federal regulations, its dispensing
            for OUD is limited to certified opioid treatment programs, serving as a barrier
            to broader use.250
         2) Naltrexone is an opioid antagonist that blocks the effects of other narcotics.
            Provided as a daily pill or monthly intramuscular injection, it can be
            prescribed in ambulatory settings and does not have any abuse or diversion
            potential.251 However, it cannot be administered to individuals with opioids in
            their systems, since doing so will precipitate abrupt opioid withdrawal.252


25 These include, but are not limited to, Emergency Departments, hospitals and other acute care

facilities, schools, the courts, jails, prisons, detention facilities, and syringe exchange programs and
other community-based outreach programs.



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         3) Buprenorphine is a partial agonist and partial antagonist of the opioid
            receptor, with significantly lower potential to produce euphoria or respiratory
            depression than other opioids. Appropriately waivered physicians may
            prescribe buprenorphine offices, community hospitals or correctional
            facilities.253 While the main form of buprenorphine for OUD is an orally
            administered combination of buprenorphine and naloxone (the latter of
            which is an opioid reversal agent as described in Paragraph #107), other
            formulations of buprenorphine are likely to be FDA approved in the years to
            come.254

88. Historically, some have opposed MOUD based on a number of misconceptions,
    including that it is invariably diverted (it is not, and when it is, it is often to avoid the
    dysphoria of opioid withdrawal including symptoms such as agitation, anxiety, muscle
    aches, nausea and vomiting),26 or that it is simply substituting one addiction for
    another (it is not).255 Rather, MOUD increases social functioning and retention in
    treatment, allowing individuals a better opportunity to reintegrate within their families
    and communities and to transition from active addiction through treatment into
    recovery.256 257 It is also associated with a wealth of other positive outcomes, including
    decreased opioid use and improved survival.258 Because of this, its use is supported
    by numerous authoritative sources, including the Centers for Disease Control and
    Prevention, National Institutes of Drug Abuse, American Society of Addiction
    Medicine and Substance Abuse and Mental Health Services Administration. It is also
    supported by global authorities such as the World Health Organization, which includes
    buprenorphine and methadone as Essential Medicines.259 However, as I discuss further
    in Paragraphs #94 and #95, MOUD is not a stand-alone therapy nor does everyone
    require it; when it is used, it must be accompanied by other clinical interventions as
    part of comprehensive care for those with OUD.

89. Despite the potential of MOUD to help address the opioid epidemic, it is severely
    underutilized. For example, an analysis of 2012-2013 data from the National
    Epidemiologic Survey on Alcohol and Related Conditions (NESARC) indicated that
    fewer than one in five individuals with non-medical prescription opioid use disorder
    were ever treated,260 and rates of use of MOUD within publicly funded treatment
    programs have historically been low.261 262 Combined with low use of MOUD even
    within programs offering it, some estimates are that as few as 1 in 10 individuals with
    OUD receive MOUD.263 Worsening matters further, treatment courses are often short,
    rates of treatment discontinuation and relapse high,264 and even periods of MOUD
    use are often punctuated by the receipt of prescriptions for non-MOUD opioids,
    underscoring common and serious lapses in care even for those accessing these
    treatments.265 266




26Even the need for such defense of MOUD underscores the marked stigma and asymmetry that
exists between OUD and other diseases; for example, it is hard to imagine a setting where the use
of inhalers for asthma, insulin for diabetes, or even psychotropics for mental illness, would be met
with such skepticism or outright opposition.




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90. A 2018 study from Massachusetts provides useful context.267 In this analysis of adults
    who survived an overdose between 2012 and 2014, in the 12 months after an
    overdose, 11% received methadone, 17% received buprenorphine and 6% received
    naltrexone. The average (median) duration of treatment was short, 1-5 months. Both
    methadone and buprenorphine utilization were associated with decreased opioid-
    related and all-cause mortality.27 Thus, this study underscores: (a) large gaps in MOUD
    adoption; (b) high discontinuation rates; and (c) the life-saving benefit of methadone
    and buprenorphine.

91. There are many barriers that account for the large gap between the number of
    individuals with opioid use disorder and the proportion that are treated with MOUD.
    Underlying these barriers are misconceptions about the nature of OUD and the
    effectiveness of MOUD, as well as other concerns such as those identified in
    Paragraph #88. In a recently published study based on national surveys, my
    colleagues at the Johns Hopkins Bloomberg School of Public Health found that only
    about one in three substance use treatment facilities offered MOUD in 2016, and
    fewer than one in sixteen (6.1%) offered all three.268 There is also a large shortage in
    the number of providers who are equipped to provide care for those with
    addiction.269 270 Finally, the costs of MOUD, as well as other treatments for opioid
    disorder, have historically been an impediment for many individuals who might
    otherwise seek care.271 While our own work272 273, and that of others274, suggests that
    health plans are increasingly modifying their coverage and reimbursement policies so
    as to address the opioid epidemic, many individuals with opioid use disorder still face
    economic barriers to treatment, with a 2016 Department of Defense estimate of the
    costs of MOUD28 275 exceeding that of diabetes mellitus ($3,560) or kidney disease
    ($5,624).276

92. Overcoming these economic and structural barriers is just the first step in achieving
    the potential for high quality OUD care.277 This is because there is enormous stigma
    associated with opioid addiction, which discourages patients from seeking treatment
    and discourages clinicians from providing it.278 While opioid use disorder is a brain
    disease, it is often framed as a moral failing instead; treatment systems remain
    marginalized rather than “mainstreamed”; language about “legitimate pain” and
    “junkies” and “getting clean” perpetuates such marginalization; and many features
    of the criminal justice system’s intersection with opioid use disorder also contribute to
    the persistent organizational failures that are seen.279

93. Improving treatment uptake and use for OUD is not just the right clinical thing to do, it
    also makes good economic sense. For example, Ettner and colleagues280 and
    Gerstein and colleagues281, have estimated at least a 7:1 return on investment when
    examining the economic benefits and costs of the treatment of alcohol and drug
    disorders using California treatment data. These and other data are helpful in

27 The authors speculated several reasons they may not have observed a statistically significant
benefit with naltrexone, including a small sample and short duration of use, with most patients
receiving it for a single month. In addition, the study was unable to differentiate oral from
intramuscular naltrexone.
28Estimated annual costs, which included a number of assumptions and were framed as
preliminary, were $6,552 (methadone), $14,000 (naltrexone) and $5,980 (buprenorphine).


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    suggesting the value of MOUD, although there is also a need for further research that
    is focused specifically on treatments for OUD, rather than broader substance use
    disorders such as alcohol use disorder or use disorders associated with other controlled
    or illicit substances.

 94. Investments in the treatment infrastructure must be made along a full continuum of
     care, from overdose reversal and acute detox to supports enabling long-term
     recovery. Individuals with OUD need regular contact with health care professionals
     responsible for supervising their pharmacologic and/or behavioral treatments,
     screening for adverse events or treatment failures and delivering supportive care and
     psychological counselling. In many ways, such a model is no different than a model
     of care for someone with asthma or diabetes. These diseases, and their treatments,
     can’t be managed in a vacuum. Medications, whether MOUD or treatments for other
     chronic diseases, should be provided in the context of a therapeutic relationship
     where risk factor attenuation, supportive counseling, medication monitoring, and
     attention to other health care needs take place. In the case of OUD, the delivery of
     structured social support and counseling may be especially important, given that
     these engagements assist patients in establishing the social reconnection that can be
     critical to long-term recovery. Treatment must also recognize the importance of
     screening and treatment for infectious diseases such as Hepatitis C and HIV282, as well
     as attending to chronic pain, other substance use disorders and mental illness, all of
     which are common among individuals with non-medical opioid use or OUD.283

 95. In addition, no single treatment is right for everyone, and not every individual with a
     history of opioid use disorder should be treated with MOUD. For example, some
     people have a remote history of opioid use disorder and while they retain a lifelong
     sensitivity and vulnerability to opioids, just as an alcoholic does to alcohol, many of
     these individuals are living productive, successful lives in recovery without MOUD.
     Some individuals are able to maintain healthy recovery through abstinence-based,
     12-step programs such as Narcotics Anonymous, psychological counselling and
     supportive therapy, or combinations of these or other approaches.

 96. There are many different models for expanding access to OUD treatment within
     communities such as Cuyahoga and Summit Counties, and this remains an area of
     rapid growth and program evaluation. For example, Office-Based Opioid Treatment
     (OBOT) allows for physicians completing a waiver program to prescribe
     buprenorphine for OUD within primary care settings, the Medicaid Health Home
     Model integrates MOUD and behavioral health treatments with primary care for
     people with OUD and the Hub-and-Spoke Model triages patients between primary
     care clinics for uncomplicated patients with OUD (the “spokes”) and centralized
     clinics equipped to care for patients requiring methadone or whose complex
     behavioral and medical needs exceed those routinely provided in primary care
     settings.284 Other models employ telemedicine or evaluate the increasingly common
     induction of MOUD within Emergency Department or inpatient settings.285

97. These programs differ along many dimensions, such as the degree to which they focus
    on the delivery of pharmacotherapy, behavioral services, care integration and
    community-based education or outreach. It is important that programs are designed
    to deliver care to individuals who have initiated MOUD, or “induction”, in low-barrier


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     settings such as syringe exchange programs or emergency departments, given that
     the marginalization and social isolation of some of these individuals increase their
     likelihood for relapse or loss to follow-up. As discussed elsewhere, the needs of
     communities differ, and the optimal program for a given city or county will depend
     upon a variety of different factors including the adequacy of the primary care and
     specialty workforce, urbanicity, and existing infrastructure devoted to addiction
     treatment.

98. Most individuals with opioid use disorder who are entering treatment can be
    managed either in an ambulatory or intensive outpatient (IOP) setting, although initial
    evaluation and appropriate triage is important so as to optimize each individuals’
    likelihood of successful treatment and recovery. IOP programs typically provide for
    several hours of patient engagement four to five days per week for a period of several
    weeks, and may include services ranging from individual, group and/or family
    counseling to case management to vocational training and employment services.286
    A minority of individuals with opioid use disorder require inpatient hospitalization for
    initiation of detoxification and treatment, such as when acute illness (e.g., pneumonia
    or soft tissue infection), advanced comorbid disease (e.g., heart failure or liver failure)
    or uncontrolled psychiatric illness (e.g., bipolar affective disorder) makes ambulatory
    or IOP treatment unfeasible.

99. Workforce expansion is also important as part of efforts to build treatment
    infrastructure, given that many communities lack a sufficient number of well-trained
    health care professionals who are equipped to deliver needed services for those living
    with chronic pain and/or opioid use disorder. These shortages have been
    experienced in Ohio;287 for example, in a survey of specialty addiction treatment
    organizations in the state, nearly half of the surveyed facilities reported insufficient
    prescribing capacity and one in four facilities using buprenorphine reported they had
    to turn patients away.288 There are a number of complementary mechanisms to
    prepare the workforce, including greater training through existing graduate health
    professional education programs as outlined in Paragraph #41 and elsewhere in this
    report, as well as capacity-building through expansion of existing infrastructure and
    the creation of new programs for health care professionals and paraprofessionals.289

100. Any abatement program within Cuyahoga and Summit Counties should include
     investments in the treatment system so as to allow for the provision of comprehensive,
     coordinated high-quality care for individuals with OUD, including access to services
     for the identification and management of acute, chronic and preventive care
     needs.290 Cuyahoga and Summit Counties already have taken significant steps to
     expand treatment capacity.291 Even so, only a small percentage of residents who
     could benefit from treatment are receiving it, and more must be done to connect
     individuals to appropriate services. Such investments should be also targeted at each
     specific points where gaps occur or individuals otherwise experience unacceptably
     high rates of relapse or loss to follow-up, ranging from the identification and triage of
     patients after non-fatal overdose to the expansion of detox and IOP programs to the
     provision of compassionate, evidence-based care for individuals living in recovery.


 CATEGORY 2B. PEER COACHES, RECOVERY HOUSING AND JOBS TRAINING



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 The goal of this remedy is to increase the use of peers, who have credible, lived
 experience with opioid addiction, as well as to provide recovery housing and
 employment or vocational training for individuals whose recovery from opioid addiction
 might otherwise be jeopardized by the absence of a stable, supportive home
 environment or opportunities for gainful employment and career advancement.

101. While there is an urgent need to train more primary care practitioners to identify and
     treat opioid use disorder, peer recovery coaches also can play an important role in
     the treatment and recovery process for some individuals with OUD. The primary value
     of a trained peer coach is their lived experience with addiction, which allows for them
     to provide a level of credibility and authenticity that can be enormously helpful for
     individuals entering the treatment system. Coaches may provide a number of
     different types of resources or support to individuals with OUD, ranging from
     psychological support to connections to recovery communities, activities and
     events.292 Two systematic reviews examining the impact of peer-recovery services
     suggest the positive impact that such services can have on those with substance use
     disorders.293 294

102. Recovery housing is also an important component of care for some people with OUD.
     The National Alliance for Recovery Residences (NARR) defines four levels of recovery
     housing ranging from self-funded, peer-run, residential facilities where individuals can
     stay indefinitely (Level 1) to residential facilities that also serve as clinical treatment
     centers (Level 4).295 As explained by Lori Criss, the Associate Director of the Ohio
     Council of Behavioral Health & Family Services Providers, “Who we spend our time
     with, where we go, and the things we surround ourselves with all impact who we are
     and the decisions that we make. Many times, people in early recovery have to give
     up everything they’ve known… because those people, places, and things put them
     at risk for relapse or continued use. Early recovery can be painful and isolating.
     Recovery housing can fill that void with a safe place, compassionate people, and a
     life full of purpose and fun that doesn’t involve alcohol or drugs.”296

103. As with peer recovery coaches, evidence examining the effect of recovery housing
     on outcomes such as drug and alcohol use, employment and psychiatric symptoms,
     while limited, suggests salutary effects.297 However, concerns have also been raised
     regarding substandard or outright fraudulent services being provided by some
     recovery houses. A March 2018 report from the U.S. Government Accountability
     Office (GAO) examining this matter in five states, including Ohio, underscores both
     the potential promise of recovery housing as well as the importance of adequate
     state regulatory oversight of their practices to ensure the prevention of exploitative or
     outright fraudulent housing practices.298

104. The role of the workplace in impacting the opioid epidemic must also be considered.
     For example, individuals with OUD who are under- or unemployed need opportunities
     for vocational training and access to employment, since unemployment is a
     significant risk factor for substance use, as well as relapse.299 In addition, prevention
     programs should be developed to broader populations of under- and unemployed
     through job training programs and other mechanisms, so as to decrease the likelihood
     of new cases of non-medical opioid use or OUD among this population.



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105. The workplace is also important to consider because of the myriad ways that
     employers can positively impact the opioid epidemic.300 For example, employers
     should develop programs and policies that support employees living with chronic
     pain or who seek or are in treatment or recovery from opioid use disorder, including
     ensuring sufficient coverage and reimbursement of comprehensive services along
     the full continuum of care for OUD.301 Employers can also create a workplace that is
     supportive of treatment and recovery by ensuring that hiring policies do not
     discriminate against individuals with a history of substance use disorder or criminal
     records secondary to such disorders.

106. Abatement remedies in Cuyahoga and Summit Counties should include resources to
     support a cadre of peer recovery coaches available to work directly with individuals
     entering the treatment system. In addition, investments should be made to maximize
     the availability and quality of recovery housing for individuals with OUD who are in
     need of such services as part of their recovery. Cuyahoga and Summit Counties have
     expanded recovery housing in recent years, but capacity is still not sufficient to serve
     everyone who could benefit from such services or for sufficient duration.302 303 Finally,
     individuals with OUD who are under- or unemployed should be provided opportunities
     for career advancement through employment or vocational training programs that
     equip them to enter the workforce so as to maximize their likelihood of a healthy and
     successful recovery, and employers should develop policies that affirm the workplace
     and societal value of individuals who have been harmed by the epidemic.


CATEGORY 2C. NALOXONE DISTRIBUTION AND TRAINING
This abatement category focuses on naloxone distribution and training. Naloxone is an
opioid antagonist, or "blocker”, that can save lives by safely and rapidly reversing opioid
overdoses. However, its costs, stigma and other barriers have historically limited
accessibility to those in need.

107. As an opioid antagonist, naloxone works by binding to opioid receptors and blocking
     respiratory depression and other effects of prescription opioids and heroin or illicit
     fentanyl. It only works if someone has opioids in their system. Naloxone is a non-
     scheduled prescription medicine rather than a controlled substance.

108. There is widespread consensus that naloxone distribution and training represent an
     important method to reduce opioid-related overdose304, and reductions in opioid
     overdoses, including in areas such as Dayton, Ohio, have been attributed in part to
     widespread campaigns to improve the availability and use of naloxone.305

109. Naloxone can be easily administered through three FDA-approved formulations:
     injectable, autoinjector delivered and nasal spray, and it has little risk of adverse
     events. Injectable naloxone requires professional training, but it is also the least
     expensive since naloxone is no longer under patent protection.306 The autoinjector,
     branded as Evzio®, was approved in 2014 and is most expensive. It has also been
     suggested to offer the easiest usability.307 The nasal spray, branded as Narcan®, was
     approved in 2015 and is favored by some given its usability and price. As with MOUD,
     additional formulations and continued innovation in the naloxone market are highly



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    likely, and abatement remedies should remain flexible to keep pace with these
    changes.29

110. The price of naloxone is important to consider because historically its costs have been
     an important barrier preventing more widespread availability and use. For example,
     a two-dose package of the auto-injector Evzio was priced at $690 in 2014 but $4,500
     in 2016, representing more than a six-fold increase in price over the course of two
     years.308 In response to surging demand for naloxone, as well as its escalating costs,
     some cities and counties have had to ration it.309

111. While the costs of naloxone have prevented its more widespread availability and use,
     other barriers are also important to consider. These include stigma surrounding opioid
     use disorder, which impacts the readiness and willingness of individuals to engage
     with its preparation or use, as well as training requirements regarding its use.310 311

112. Three different channels should be used to increase naloxone distribution and use.
     First, health care providers and first responders, such as law enforcement and EMTs,
     should be provided with naloxone and training, since these individuals often serve as
     the initial point of contact with those who have overdosed. Second, high risk patients,
     such as those who are maintained on chronic, high-dose prescription opioids or who
     have already experienced a non-fatal overdose, should be prescribed naloxone and
     trained on how to administer it. In many cases, such training should also include their
     caregivers and/or family members, given the likelihood that these individuals would
     be most likely to be the ones responding to an overdose. Finally, naloxone should be
     distributed throughout communities in public spaces, similar to automatic external
     defibrillators which are routinely available in movie theaters, malls, schools, airports
     and houses of worship.

113. Despite its benefits, naloxone distribution and training will have a finite impact on the
     opioid epidemic. Not all overdoses are witnessed by someone willing and able to
     administer naloxone. In addition, the long-term public health impact of naloxone
     programs depends on what happens after an overdose is successfully reversed. For
     example, successfully revived individuals remain vulnerable to future overdose and
     death, and individuals who overdose once have escalating risks of future
     overdoses.312 After naloxone, individuals may temporarily or permanently desist from
     use, continue as active users, obtain addiction treatment, overdose again, or die of
     other causes. Ultimately, the outcomes of an overdose reversal depend upon the
     availability and comprehensiveness of OUD treatment, other mortality risks and
     background factors. These factors underscore the importance of a comprehensive
     abatement approach.

114. There have been several efforts to improve the utilization and access to naloxone in
     Ohio. Initiated in 2012 by the Ohio Department of Health, Project DAWN (Deaths
     Avoided With Naloxone) is a community-based overdose education and naloxone


 29 For example, it is plausible that a new formulation of naloxone may be developed and brought

 to market that has a significant comparative advantage over currently available naloxone
 formulations.



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    distribution program created to combat Ohio's opioid overdose crisis.313 Participants
    of Project DAWN receive training on how to recognize signs and symptoms of
    overdose, as well as learn overdose response protocols, such as rescue breathing,
    calling emergency services and administering intranasal Naloxone. Several Project
    DAWN and naloxone access sites exist across Ohio, including sites in Cuyahoga
    County and Summit County. In Cuyahoga County, Project DAWN was attributed with
    saving ~900 lives in 2017 and was projected to save another ~700 lives in 2018.314 In
    Summit County, two new sites were opened in 2018 as part of Project DAWN. One site
    reported 167 opioid overdose reversals due to Project DAWN within the first six months
    of operation.315 Despite this, as Katherine Keyes outlines in her report, more resources
    are needed to adequately scale up naloxone across Cuyahoga and Summit
    Counties.

115. Cuyahoga County has also implemented a collaborative naloxone initiative
     between Discount Drug Mart, wherein the Cuyahoga County Board of Health and
     the MetroHealth System aimed at creating a protocol to begin distribution of
     naloxone at every Discount Drug Mart throughout Ohio.316 As of 2016, all Discount
     Drug Marts in Ohio were equipped to dispense naloxone kits to individuals without a
     prescription317. This initiative has included educating pharmacists and pharmacy
     technicians on addiction paradigms and how to provide naloxone, as well as the
     creation of a pain medication awareness pamphlet distributed with every opioid filled
     at Discount Drug Marts in Ohio.318

116. Any abatement program within Cuyahoga and Summit Counties should ensure that
     naloxone is readily available to all in need, including first responders and high risk
     patients, as well as distributed effectively in public spaces. Naloxone distribution
     should be accompanied by direct training, and its role in reversing overdoses should
     also be considered for inclusion in educational campaigns as discussed elsewhere
     herein.

CATEGORY 2D. HARM REDUCTION INTERVENTIONS
The goal of harm reduction is to implement evidence-based interventions that “meet
people where they are at”. Such approaches recognize the formidable barriers that often
prevent people from treatment seeking or achieving full recovery; harm reduction
diminishes individual and societal harms from the opioid epidemic.

117. Harm reduction refers both to a set of general principles used to underpin policies
     concerning the way that societies respond to drug problems and to specific
     interventions. A defining feature of harm reduction is its focus on harms associated
     with opioid use rather than the prevention of such use per se. Harm reduction
     approaches can target individuals as well as the structural (e.g., drug paraphernalia
     laws)319 and environmental (e.g., physical environment) contexts which engender
     harm.

118. Harm reduction can be contrasted with approaches that prioritize the singular
     prevention of drug use, which often are embodied in “zero tolerance” enforcement
     approaches.320 Empirical evidence has demonstrated short-comings of the U.S. “War
     on Drugs,”321 322 including its failure to reduce the demand for drugs323 324 or decrease


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    drug-associated violence325 while leading to the disproportionate incarceration of
    people of color and the urban poor. Such findings underscore the need for
    innovative, evidence-based approaches to address opioid use disorder and other
    harms stemming from non-medical opioid use. An important component of any
    comprehensive response to the opioid epidemic includes scaled-up harm reduction
    services targeting people who are actively using drugs. There are three main harm
    reduction approaches that are relevant to the opioid epidemic.

119. Syringe Service Programs (SSPs). These programs are designed to provide clean
     syringe access and disposal to people who use drugs (PWUD) intravenously. Such
     programs were scaled up in the U.S., Europe and Australia in the 1990s and 2000s to
     help reduce the transmission of blood-borne infectious diseases. This is important
     because an estimated 4.1 million people in the U.S. are infected with HCV326 and ~1.1
     million are infected with HIV, with about 25% of HIV cases co-infected with HCV.327 328
     While studies suggest only a small proportion of individuals with non-medical opioid
     use progress to heroin,329 there are nevertheless millions of individuals who report such
     non-medical opioid use, intravenous drug use (IVDU) is a primary risk factor for the
     acquisition and transmission of both HCV and HIV, and the opioid epidemic has
     resulted in a sharp increase in both of these diseases. From 2012 to 2016, the Centers
     for Disease Control and Prevention (CDC) estimated acute HCV infections have
     increased by ~70%,330 and states with the highest rate of new HCV infections, such as
     West Virginia, Kentucky, and Tennessee, are also among those that have been
     hardest hit by the opioid epidemic.331

120. Beyond national statistics, a microcosm illustrating the interconnectedness of the
     opioid epidemic and HIV and HCV infections was seen in rural Scotts County, Indiana.
     In 2015, this rural county experienced a community outbreak of HIV, and by April 2016,
     there were 188 confirm cases of HIV infection, of which 92% were coinfected with
     HCV.332 The Indiana State Department of Health led an investigation into this outbreak
     and determined it to be linked to injection drug use of the prescription opioid
     oxymorphone.333 This outbreak also highlighted the vulnerabilities of communities to
     handle these crises.

121. The U.S. Public Health Service has long recommended to have a clean syringe for
     every injection, effectively increasing the “coverage” of sterile needles and
     syringes.334 Through extensive research over three decades, SSPs have been
     associated with reductions in risky syringe sharing behaviors335 336, as well as rates of
     HIV337 338 339 340, Hepatitis B and Hepatitis C.341 SSPs also generally include onsite
     evaluation and referrals for substance use disorder treatment for an otherwise difficult
     to access population. As of October 2017, there were an estimated 310 syringe
     services programs in 42 U.S. states and Washington, D.C.342

122. SSPs often provide medical services for PWUD, many of whom are marginalized and
     may have otherwise very limited access to ambulatory care. In addition to doctors,
     nurses, and social workers, such care may include peer recovery coaches, whose
     potential value and services are discussed in Paragraph #101. Clinical services
     delivered as part of SSPs may include care for acute conditions such as upper
     respiratory infections, chronic conditions such as diabetes or cardiovascular diseases,
     or most commonly, preventive screening and other preventive interventions such as


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     flu shots or other vaccinations. Such programs may also include family planning
     services. Individuals who test positive for HIV, HCV or both should be referred for
     treatment. Positively identified individuals will require access to necessary health care
     including effective antiretrovirals and direct-acting antiviral treatments that treat HIV
     and HCV, respectively, as well as treatment for their underlying OUD, including access
     to MOUD and other treatments for opioid use disorder.

123. Overdose prevention sites. Overdose prevention sites, or supervised consumption sites
     are places where people can legally use previously purchased prescription or non-
     prescription opioids (e.g., heroin, fentanyl) under medical supervision. These sites have
     been established in Canada, Europe and Australia for over 30 years and have been
     shown to decrease overdose death, transmission of infections and public drug
     use.343 344 345 346 Primarily staffed by medical or case management staff and current or
     former PWUD who do not assist in drug administration347, they are equipped to address
     questions about how to decrease the risks of drug consumption, provide sterile
     equipment (e.g., syringes) and condoms, and reverse overdose. In addition to their
     public health impact and cost-effectiveness, these sites are uniquely effective in
     sustaining contact with the most marginalized PWUD who consume drugs in public
     places348 349, and positively impact communities by reducing public drug use.350

124. Drug checking. Drug checking services enable people who use drugs to have the
     content of their drugs chemically analyzed, allowing them to make informed
     decisions about use.351 352 Drug checking, a method pioneered in Europe, has the
     potential to introduce the concept of product safety into the unregulated illicit drug
     supply in the U.S. Currently, its use in the U.S. has been limited to raves or similar parties,
     primarily for the testing of 3,4-methylenedioxy-methamphetamine (MDMA, or
     “ecstasy”). Recently, some syringe services programs in the U.S. have begun
     distributing fentanyl testing strips originally designed for testing urine samples. Such
     “fentanyl checking” allows users to objectively determine whether their drug samples
     contain fentanyl or fentanyl analogues. While few evaluations of fentanyl testing
     services have been performed, recent assessments suggested a high degree of
     acceptability and potential utility among PWUD.353 354 355

125. Any abatement program in Cuyahoga and Summit Counties should include
     resources to support harm reduction services. Syringe exchange services, including
     outreach, delivery of non-OUD care and referral for treatment, should be expanded
     sufficiently so as to reach the broadest population of individuals with IVDU possible
     within Cuyahoga and Summit Counties. Such programs should include increased
     availability of drug checking services to assist in the rapid identification of fentanyl so
     as to allow users to avoid using heroin adulterated with fentanyl, which is far more
     lethal. For example, in 2018 Summit County Public Health began distributing fentanyl
     test strips in limited quantities, and has documented harm reduction for PWUD.356
     While significant legal and policy reform will be required357, consideration should also
     be given to the establishment, and continual evaluation, of one or more overdose
     prevention sites, given evidence of a salutary public health impact.358 359 360




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CATEGORY 2E. SURVEILLANCE AND LEADERSHIP
The goal of surveillance is to convert local data to actionable intelligence at a local level
by gathering, curating and disseminating timely information about key dimensions of the
epidemic to public health officials, policy-makers and other stakeholders. This is important
because the absence of timely, granular information about the epidemiology of opioid
use, addiction and overdose at a local level has limited the ability of stakeholders to
rapidly design, iterate and evaluate targeted interventions to address the epidemic in
communities such as Cuyahoga and Summit Counties.


126. The opioid epidemic is a complex phenomenon with many different dimensions and
     impacts, and it continues to change and evolve rapidly at national, state and local
     levels. At a national level, prescription opioid sales increased approximately four-fold
     between 1999 and 2010361, though since then, sales have modestly declined. Despite
     a plateauing of prescription opioid deaths, since 2010 there have been large
     increases in the rates of use and overdose deaths from heroin and illicit fentanyl.362 363
     Other national changes, and some glimmers of hope, are apparent, such as large
     declines in new users of heroin in 2017, as well as significant increases in ambulatory
     treatment among those with substance use disorders.364 365 However, enormous gaps
     remain.

127. At a local level, these changes have often been even more profound, as the opioid
     epidemic has impacted communities differently. For example, there is enormous
     variation in the volume of opioid prescribing, overall, and per capita, across different
     geographic regions of the United States366. Similarly, rates of illicit fentanyl, as well as
     overdose367 368, vary widely, with some states, such as Ohio, Pennsylvania and
     Kentucky, having experienced disproportionately high numbers of overdoses
     compared with other states, such as Nebraska or Wyoming or Texas. Communities
     within these states have also been affected differently, both with respect to
     prescription sales or overdose deaths, as well as with respect to other important
     features of the epidemic, ranging from treatment capacity369 to spending on the
     epidemic.370

128. Policy-makers and public health leaders need timely and accurate information on
     key parameters they can use to make informed decisions about resource allocation.
     The importance of data is affirmed by the U.S. Department of Health and Human
     Service’s Five-Point Opioid Strategy, which includes “Better Data” as one of the five
     key strategies to address the crisis.371 Without such information, local communities are
     “flying blind”, no better off than an airplane pilot without access to the plane’s
     instrument panel. For example, the deployment, targeting and evaluation of
     academic detailing programs depends vitally on timely information regarding opioid
     prescribing across prescribers. Similarly, naloxone distribution and training should be
     designed based on the relative incidence, causes and outcomes of overdose within
     small, well-defined geographic areas.

129. Expanding surveillance capabilities is important at every level.372 At a national level,
     the federal government must continue to invest in surveillance of opioid prescribing,



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      addiction and overdose.30 This information aids in quantifying populations at-risk and
      also provides insight regarding the effectiveness and unmet needs of prevention,
      treatment and recovery programs. The National Survey of Drug Use and Health has
      consistently provided valuable, annually updated data regarding some key features
      of the epidemic, but it is limited by several factors, including, under-coverage of high-
      risks groups such as homeless or institutionalized individuals as well as a focus on past-
      year rather than life-time or incident OUD.373 Similarly, the CDC Wonder online
      database provides the best single source of information about one vital measure of
      the epidemic - opioid mortality - yet causes of death are variably reported across
      states, and further work is needed to improve the uniformity and quality of data from
      medical examiners and coroners that is reported into this system. 374 375

130. At a state level, funding is needed to assist states who continue to expand and
     harmonize their reporting systems. Such efforts are already underway and have been
     partially underwritten by the CDC, which in 2016 and 2017 provided funding for 32
     states and Washington D.C. to implement state-based opioid surveillance systems,
     designed to provide more timely and comprehensive data on fatal and nonfatal
     opioid overdoses and risk factors associated with fatal overdose.376 States need
     additional investments to build systems to increase the speed and
     comprehensiveness of overdose reporting, which should incorporate emergency
     medical services data as well as comprehensive toxicology testing by medical
     examiners and coroners. Such efforts should also include syndromic surveillance,
     designed to detect illness or disease prior to diagnostic confirmation. While such
     systems were first developed in response to bioterrorism threats, their structure and
     approach may be useful for some elements of surveillance of the opioid epidemic.

131. At local levels, cities and counties should invest in near real-time surveillance of key
     parameters relevant to understanding the nature of the opioid epidemic within their
     communities. These data should be drawn from medical, behavioral and criminal
     justice systems, and include, but not be limited to, measures such as: opioid and non-
     opioid analgesic prescribing, OUD treatment capacity, MOUD use and persistence,
     non-fatal and fatal opioid overdose events, naloxone distribution and use, criminal
     justice offense type, sentencing, treatment received while under court supervision
     (e.g., mandated treatment) and reoffending rates.

132. At a local level, such as within Cuyahoga and Summit Counties, there are many
     potential sources of data for these and other relevant measures.31 For example,
     clinical information can be derived from prescription drug monitoring programs and
     states’ Health Information Exchanges (HIEs), emergency medical services and


 30Despite the value of national sources of information, there are often lengthy lags in availability and other
 features limiting its utility for cities and counties in need. Rather, cities and counties often have information
 that could be of great value, yet historically these communities have lacked the resources required to put
 these data to use.
 31While cities and counties should prioritize local high performance surveillance, resources are also needed
 for broader evidence repositories. Such repositories would allow for evaluation of interventions (e.g.,
 naloxone distribution, treatment expansion) across diverse communities, strengthening opportunities for
 replication and dissemination of best practices.




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    hospital and emergency administration data. Behavioral health data can be drawn
    from sources such as the minimum data sets that are directly collected by all Single
    State Authorities (e.g., state agencies on drug abuse) for specialty treatment
    programs and from Medicaid programs, as well as from sources such as the Drug
    Enforcement Agency’s National Technical Information Service (NTIS) database of
    waivered prescribers and state and federal databases on specialty treatment
    providers (e.g., the SAMHSA treatment locator which is updated annually and
    provides street addresses for treatment programs). Criminal justice data can be
    derived from states’ Department of Corrections.

133. There is no question that the collection, curation, and integration of these data will
     require substantial cooperation, effort and tenacity on the part of local communities
     such as Cuyahoga and Summit Counties. Many of these data systems are maintained
     by different private or public entities, and in some cases, significant administrative,
     legal and cultural barriers will have to be overcome. However, there is tremendous
     promise in such efforts, especially since the effects of the opioid epidemic, and
     remedies to abate it, extend across medical, behavioral and criminal justice systems.
     Linkage of these data will provide a more comprehensive understanding of the
     current issues associated with the epidemic and identify areas where local
     communities should focus.

134. For example, consider the case of policing, where public health oriented policing
     interventions, such as a focus on overdose deaths, use of naloxone, education
     regarding addiction and stigma, and treatment on demand, can play an important
     role in reducing opioid-related injuries and overdose deaths.377 Routine tracking of
     measures that evaluate that these and other approaches can be used for a number
     of purposes including to establish benchmarks, allocate resources, and evaluate the
     success of new initiatives with respect to process, such as how many doses of
     naloxone have been dispensed, and outcomes, such as how many overdoses have
     been reversed.

135. Surveillance must be combined with leadership such as has been demonstrated by
     individuals within Cuyahoga and Summit Counties. In other words, a cohesive,
     multidisciplinary team should coordinate a given community’s response across
     multiple agencies, departments and stakeholders and based on a comprehensive
     needs assessment as outlined in Paragraphs #36-#37. Representation, and
     appropriate staffing, from key entities such as the medical, behavioral and criminal
     justice systems within the community is vital. The overall effectiveness of a
     community’s response will rest in part upon the relationships among those
     coordinating the effort, and the overall coherence and shared vision among relevant
     parties. This team should meet regularly to review programs and policies, as well as
     assess surveillance data and emerging evidence from the field. In addition to serving
     as liaisons to their respective organizations, as well as more broadly championing the
     community’s strategic response, the team should troubleshoot, redirecting resources
     and re-engineering how individuals with chronic pain, non-medical opioid use or OUD
     are identified and managed within relevant systems of care.

136. Abatement remedies in Cuyahoga and Summit Counties should include resources to
     support the development and management of a state-of-the-art surveillance


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    program that can serve as a mission control center as remedies are deployed,
    iteratively refined and evaluated. Such resources should allow for relevant data from
    a variety of local, state and national sources to be gathered, curated and analysed,
    and in turn, reported back out using a variety of different approaches customized to
    the specific needs of key stakeholders such as public health officers, treatment
    providers and law enforcement officials. Remedies should also include resources to
    support the leadership that will be needed for a well-coordinated, longitudinal, multi-
    stakeholder initiative.


CATEGORY 3: CARING FOR SPECIAL POPULATIONS
Many groups of individuals have been uniquely affected by the epidemic, including
pregnant women, children and adolescents and those who are incarcerated or otherwise
enter the criminal justice system. Other marginalized or historically underrepresented
groups, such as African Americans, Native Americans and Alaskan Natives, have also
been impacted in unique ways. While some abatement remedies, such as naloxone
distribution, generally need not be customized to specific subpopulations, there are other
remedies that are important to design with specific populations in mind. The groups below
are not intended to be exhaustive of special populations of interest, and in some
communities or settings, other subpopulations may be important to consider as
abatement remedies are deployed, ranging from women378 to those living in rural areas.379

CATEGORY 3A. INDIVIDUALS WITHIN CRIMINAL JUSTICE SYSTEM
One goal of this remedy is to increase the identification and treatment of individuals with
opioid use disorder within the criminal justice system in both community and detention
settings. This is important because the criminal justice system is a major thoroughfare for
individuals with opioid addiction, and treatment of these individuals reduces their risk of
overdose and recidivism while improving their societal reintegration. This remedy also
focuses on other ways that the criminal justice system can positively impact the opioid
epidemic through activities ranging from reducing stigma surrounding OUD to disrupting
drug trafficking rings that are responsible for the distribution of illicit fentanyl.

137. The opioid epidemic has burdened the U.S. criminal justice system with a surge of
     inmates, increasing health care costs associated with OUD and producing high rates
     of overdose and recidivism. Data from the Department of Justice suggest over half of
     the incarcerated population has a substance use disorder,380 approximately one in
     four state prisoners between 2007-2009 reported prior heroin or opioid use,381 and by
     some estimates, as many as one-fourth to one-third of individuals with heroin
     addiction are estimated to pass through the criminal justice system each year.382
     Fewer than 20% receive treatment,383 and what treatment is received is often
     inadequate. According to the Federal Bureau of Justice Assistance, as of August 2017,
     only 30 of the 5,100 (0.6%) prisons and jails in the U.S. offered opioid users methadone
     or buprenorphine,384 despite evidence that such treatment improves treatment entry
     and retention after release if arrangements exist to continue treatment.385 Because of
     this, detox facilities and access to MOUD, as well as other treatments along the
     continuum of care, are important for those incarcerated in jails, prisons or juvenile
     detention facilities. While such treatments should be made available to anyone with




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      OUD, they are especially important for high priority populations such as pregnant
      women with OUD and individuals already on MOUD prior to incarceration. 386

138. Drug courts. There is substantial evidence regarding the role that drug courts can play
     in diverting non-violent offenders from the criminal justice system to the treatment
     system, where their needs can be more effectively addressed.387 These programs
     represent special court dockets that provide judicially-supervised substance use
     treatment in lieu of incarcerating individuals with drug-related offenses. The
     President’s Commission on Combatting Drug Addiction and the Opioid Crisis included
     a recommendation that the “DOJ broadly establish federal drug courts within the
     federal district court system in all 93 federal judicial districts.” Further, the Commission
     reported “States, local units of government, and Indian tribal governments should
     apply for drug court grants established by 34 U.S.C. § 10611. Individuals with a SUD
     who violate probation terms with substance use should be diverted into drug court,
     rather than prison.”388 One of several sources of evidence to support the efficacy of
     drug courts is a comprehensive review commissioned by the U.S. Department of
     Justice that examined drug courts in the U.S.; the report, which was also supported by
     the Office of National Drug Control Policy (ONDCP) of the Executive Office of the
     President, found that the combination of comprehensive treatment services and
     individualized care provided by drug courts is an effective way to provide treatment
     to criminal offenders with substance use disorders.389 Both Cuyahoga County and
     Summit County have established drug courts. In Summit County, the majority of
     participants are opioid-dependent and yet capacity is limited.390

139. Interventions focused on law enforcement agents play a synergistic role to drug
     courts targeting criminal justice offenders. Law enforcement officers are in a key
     position to help reverse the opioid epidemic as they respond to overdoses and
     engage in community policing, a practice that places officers consistently in the
     same local settings to support their greater integration and partnership with
     community residents. Police departments in hard hit areas of the country have been
     stretched thin as they have attempted to devote sufficient resources to the opioid
     epidemic, which has in turn diminished their capacity to respond to other pressing
     needs within their communities. In addition to a pressing need for greater personnel,
     there are also specific law enforcement-related strategies that can equip officers
     responding to the opioid epidemic.

140. Training to reduce stigma. Since law enforcement officers are often the first
     responders to an overdose, they must have the training and confidence to
     appropriately respond.32 Such training, which should be repeated at regular intervals,
     may reduce stigma, increase the likelihood that individuals will call 911 for help and
     improve referrals for services and/or treatment. While not focused on opioid overdose
     per se, training for officers to reduce stigma related to behavioral health crises has
     been effective at improving officers’ attitudes toward individuals with mental health
     issues391 392 and self-efficacy in handling these calls.393 Such Crisis Intervention Team



 32 Law enforcement officers within prisons and detention centers should also undergo similar
 training, given high rates of stigma in these settings as well.



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     (CIT) training has also reduced arrests and use of force394 and increased referrals for
     services during a mental or behavioral health crisis. 395 396

141. Law Enforcement Assisted Diversion (LEAD). LEAD is a program to divert individuals
     who would otherwise be arrested for drug-related charges into community-based
     services and/or treatment.397 LEAD is unique in that it occurs pre-booking so that if an
     individual who qualifies for the program chooses to enroll, they do not have an arrest
     on their record if they complete program requirements. Qualifications are based on
     having committed a low-level drug offense and factors such as the amount of drugs
     possessed, absence of any intent to distribute and absence of disqualifying criminal
     history such as violent crime.398 Thus, in contrast to drug courts, LEAD participants never
     enter the criminal justice system and they are enrolled in LEAD instead of being
     charged with a crime. LEAD programs reflect partnerships between law enforcement
     and local behavioral health systems to enroll individuals in appropriate services.
     Seattle created the first LEAD program and early evaluation results suggest improved
     outcomes for participants including housing, employment, and reduced
     recidivism.399 400 As with Crisis Intervention Team training, law enforcement officers
     require training that should be repeated at regular intervals to maximize their
     familiarity and expertise with the conduct of LEAD.

142. Specialized overdose units. Some police departments have created specialized units
     to address the opioid epidemic. These units, such as one in Cleveland, Ohio,401 are
     often comprised of detectives, sometimes within homicide or narcotics units, who
     work to link together overdose incidents across the city by identifying similar contacts,
     sources, dealers or other features between overdose events. These units treat sites of
     overdoses as crime scenes and work to track back to dealers and build cases for
     prosecution to bring down higher level supply sources for opioids.402 The specific size
     and composition of these units, as with other components of an effective law
     enforcement response to the opioid epidemic, will depend upon many features of
     the local community, including the size and urbanicity of the jurisdiction as well as the
     burden of prescription opioids, heroin and illicit fentanyl.

143. Law enforcement plays a vital role in an effective response to the opioid epidemic,
     and any abatement program in Cuyahoga and Summit Counties should include
     resources to support each of these functions. While the specific needs of local law
     enforcement could extend beyond the areas identified above, at a minimum,
     resources should be committed to ensure that police departments are adequately
     staffed so that demands posed by the opioid epidemic can be fully addressed
     without detracting from an ability to address other areas of high local need. In
     addition, resources should be committed so as to staff and otherwise support
     prosecutors, drug courts,33 training to reduce stigma for both community policing as

 33 For example, court systems in many communities need greater support to optimize their

 potential to connect individuals in need of treatment with ambulatory or intensive outpatient
 treatment. Thus, resources are needed for courts to sufficiently staff positions that allow for
 technical assistance to judges as well as increased tracking, case management, and
 coordination and integration of the activities of the court with each community’s broader
 abatement approach.




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     well as among prison and detention center personnel, LEAD and, where required,
     specialized overdose law enforcement units. Resources are also required to support
     the development and management of detox units and treatment facilities within jails,
     prisons and detention centers so as to provide treatment access for individuals with
     opioid use disorder.


CATEGORY 3B. CHILDREN, ADOLESCENTS AND YOUNG ADULTS
The goal of this remedy is to address the direct impact of opioid use, addiction and
overdose on children, adolescents and young adults, including prevention programs that
delay initiation or escalation of opioid use as well as screening and treatment programs
that are customized to the unique needs of these special populations.

144. Children and adolescents are uniquely vulnerable to the consequences of non-
     medical opioid use, and as the opioid epidemic has flourished, many children and
     adolescents have been exposed. In 2005, approximately 10% of adolescents reported
     prior or current non-prescribed use of pain relievers.403 In 2015, an estimated 276,000
     adolescents 12 to 17 years of age reported current nonmedical use of pain relievers
     with nearly half of these adolescents likely to be addicted to these products.404 Such
     use has occurred at high rates in Ohio, with 2013-2014 Summit County estimates that
     as many as one in eight (15.6%) of high school students reported non-medical
     prescription drug use (compared with state average of 12.8%) and an estimated 4.1%
     of high school students reported prior heroin use, twice as much as the state’s (2.0%)
     and national (2.2%) average.405 Fortunately, there is evidence that opioid misuse
     among children and adolescents has declined somewhat over time. Past-year misuse
     of Oxycontin among high school seniors has declined from 5.5% (2005) to 2.7% (2017),
     while the proportion of high school seniors reporting prescription opioids as easily
     accessible has declined from 54% (2010) to 36% (2017).406 Despite this, the fact that
     one-third of high school seniors in 2017 reported that opioids are easy to obtain
     suggests their continued oversupply and remains of great concern.

145. The American Society of Addiction Medicine recognizes adolescents, individuals 11-
     21 years of age, as a special population of interest with respect to substance use
     disorders.407 Not only has early initiation of drug use been strongly associated with a
     constellation of adverse consequences, such as poor peer and familial relationships
     and entanglements with the juvenile justice system,408 but the ongoing brain
     development in adolescents during this period of time make them highly vulnerable
     to substance use disorders.409 Because of their vulnerability and future potential,
     prevention and early detection of substance use disorders in youths should be heavily
     prioritized to minimize the short- and long-term consequences associated with drug
     use at an early age.

146. Several school-based or family-based prevention programs have successfully
     delayed initiation or escalation of drug use in youths.410 411 412 For example, the Life Skills
     Training (LST), a widely used school-based module, has been demonstrated in several
     controlled studies to reduce substance use amongst adolescents.413 The impact of LST
     may be enhanced when coupled with the Strengthening Families Program (SFP), a
     family-based intervention designed to develop and support family bonds and
     communication. Greater investment should be made in the continued dissemination,


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     implementation and evaluation of these and other evidence-based programs that
     are focused on primary prevention through education of broad populations
     regarding the nature of opioid use disorder, risks of non-medical use and availability
     of treatment and recovery supports.

147. Treatment for adolescents with substance use disorder requires a unique approach
     and should be delivered by individuals with specialized training in the care of this
     population. For example, unlike older adults who have often spent years coping with
     substance use accompanied by a deterioration in psychosocial domains (e.g., loss of
     job or family), adolescent users tend to present at treatment after only a few years of
     addiction. In contrast to adults with substance use disorders, adolescents’ drug use is
     often driven by different factors (e.g., familial discord), may be subject to different
     environmental influences (e.g., peer effects) and may compromise psychological
     development.414

148. Use of MOUD is recommended for adolescents with severe opioid use disorders.
     Buprenorphine and naltrexone may provide more suitable treatments for adolescents
     than methadone, since these can be administered in office-based treatment settings.
     Furthermore, one of several evidence-based psychosocial therapies should be used
     simultaneously with MOUD when treating adolescents with substance use disorders.
     One type of psychosocial therapy is family-based therapy, which aims to reduce the
     adolescent's drug use by involving the youth’s family members in the treatment
     process. This mode of therapy facilitates the development of emotional support and
     communication strategies in order to address issues such as antisocial behavior or
     dysfunctional family interactions.

149. Abatement remedies in Cuyahoga and Summit Counties should include resources to
     reach at risk children and adolescents through school and community-based youth
     programs. In addition to screening and primary prevention programs to teach and
     reinforce positive life skills, resources should also be committed to the care of children
     and adolescents with opioid use disorder, which may require expansion of personnel
     with customized expertise in this area, as well as resources to support the expansion
     of both pharmacologic and non-pharmacologic treatment and recovery services.


CATEGORY 3C. CHILDREN IN FOSTER CARE AND CHILD PROTECTIVE SERVICES
The goal of this remedy is to improve the resources available to support children who have
been orphaned by the epidemic, as well as to assist children and their families who have
otherwise been impacted and who may be served through child protective services.

150. The opioid epidemic has severely impacted many families, and at times, forced
     children to be separated from parents and placed in foster care. In 2017, there were
     nearly 443,000 children in foster care in the U.S., an increase of 46,000 children since
     2012.415 Much of this increase is attributable to the opioid epidemic.416 Of the 273,000
     children that entered foster care 2016, over 92,000 (34%) children were placed in out-
     of-home care and parental substance use was reported as a factor in the reason for
     removal.417 However, states vary in reporting on this variable and these data are
     considered an undercount of the prevalence of substance use among child welfare



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    cases.418 419 420 Vastly more children – as many as one in eight – live in a household with
    one or more parents who have a history of past year substance use disorder.421

151. While the precise number of these placements that were directly due to opioids is
     unknown, a recent mixed-methods study commissioned by the U.S. Department of
     Health and Human Services provides additional context.422 Geographic regions of the
     country with higher rates of overdose deaths and drug-related hospitalizations also
     have higher child welfare caseloads, as well as more severe and complex child
     welfare cases. In addition, many key informants reported worsening conditions, such
     as overdose deaths and caseload numbers, between 2015 to 2017. The report also
     identified many barriers to treatment of impacted families, including
     misunderstanding and mistrust of MOUD, piecemeal substance use assessments,
     shortages of family-friendly treatment and an increasing shortage of foster care
     homes. The report concluded that while these findings may not represent every
     geographic region or state, they nevertheless suggest how the opioid crisis has taken
     an unusual toll on an already strained child welfare system.

152. Children entering the foster care system, including those whose entry has been driven
     by the opioid epidemic, have both medical and non-medical needs. Federal and
     state governments often provide support to guardians of foster children for non-
     medical needs such as food, clothing and housing. Many children in foster care also
     have special health care needs, given the high prevalence of chronic medical,
     developmental, and mental health problems, most of which predate placement in
     foster care.423 Lastly, approximately 21-23% of children exiting foster care are
     adopted.424 Though some adoption costs are offset with government subsidies, the
     adoption process can nevertheless impose a heavy economic burden on some
     families.

153. Child protective services (CPS) includes a variety of interventions that are undertaken
     by state agencies charged with optimizing the health and welfare of otherwise
     vulnerable infants, children and adolescents. Such services include the investigation
     of reports of child abuse or neglect as well as the delivery of services, such as
     specialized case management and multisystemic or other family-based therapy, to
     support children and families where abuse or neglect has taken place or is likely. CPS
     is based on several underlying principles including a recognition that a safe and
     permanent home is the best location for children to be raised and that most parents
     want to be good parents to their children.425 Summit County Children Services has
     served as one of 11 pilot counties for the Ohio Statewide System Reform Project (SSRP);
     they operate a family treatment court and have also implemented a universal
     screening tool which seeks to identify families and parents impacted by substance
     abuse disorders.426 Identification of parents and guardians who may have opioid
     misuse or OUD presents opportunities to connect them to needed treatment services.
     Summit County has also offered family drug assessments, recovery coaches,
     substance abuse treatment through local providers, and other related services under
     the STARS Program until the federal grant that funded the program ended.427 428
     Cuyahoga County offers similar services for birth mothers who test positive for drugs
     or alcohol through the START program.429




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154. Any abatement program in Cuyahoga and Summit Counties should include
     resources to support the needs of children who have been orphaned by the
     epidemic or who have lost a parent, whether or not they have entered the foster care
     system. In addition, abatement remedies should include resources, including intensive
     case management and access to therapy, to support the needs of children and
     adolescents who may have entered child protective services or otherwise come to
     the attention of social services organizations within the affected communities.

CATEGORY 3D. PREGNANT WOMEN AND NEONATES
This abatement remedy focuses on pregnant women who have chronic opioid
dependence, opioid misuse or OUD, as well as infants born with neonatal opioid
withdrawal syndrome (NOWS), a condition among newborns that is a consequence of in
utero exposure to opioids.34 (NOWS is also sometimes referred to Neonatal Abstinence
Syndrome, although the latter is a less specific term that may refer to in utero exposure to
other substances such as alcohol or tobacco.) As with other special populations such as
children and adolescents, pregnant women and their newborns are important to consider
because of the ways that abatement remedies should be designed to address their
unique needs and vulnerabilities.

155. The opioid epidemic has severely impacted pregnant women and neonates.
     Approximately 15% of commercially insured women and 22% of women on Medicaid
     filled an opioid prescription during their pregnancy. 430 431 The rate of NOWS, a
     condition associated with utero exposure to opioids, has also increased as opioid
     prescribing has increased. For example, in an analysis of hospital discharges from 2009
     to 2012, the estimated rate of NOWS increased from 3.4 to 5.8 per 1000 hospital
     births.432 A longer time horizon provides similar evidence, with estimates of the
     diagnosis of NOWS increasing from 1.2 to 8.0 live births between 2000 and 2014; during
     this time period, some states experienced as large as a ten-fold increase.433

156. Both the Substance Abuse and Mental Health Services Administration (SAMSHA) and
     the American College of Obstetricians and Gynecologists (ACOG) have provided
     similar recommendations for targeting and treating pregnant women and neonates
     impacted by the opioid epidemic, including with respect to prenatal screening for
     opioid use among women who are pregnant, MOUD treatment for pregnant women
     with opioid use disorder, neonatal care for neonates born with NOWS, and residential
     transition programs for pregnant women and new mothers with OUD who have
     limited social supports.434 435

157. Prenatal screening. SAMSHA and ACOG strongly recommend screening pregnant
     women for substance use disorders including OUD. ACOG specifically recommends
     universal screening as part of obstetric prenatal care visits, and both suggest using
     validated screening tools such as the National Institute on Drug Abuse’s (NIDAs) Quick
     Screen or Substance Use Risk Profile–Pregnancy (SURP-P).436 Both organizations also
     suggest screening be part of a Screening, Brief Intervention, and Referral to Treatment

 34 NOWS has also been historically referred to using the less specific term “neonatal abstinence

 syndrome (NAS)” which may refer to infant in utero exposure to other medicines or substances
 such as tobacco or alcohol.



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    (SBIRT) approach, although concerns with SBIRT as it applies to opioids have been
    raised. For example, some SBIRT studies have been negative and the effect in positive
    studies often modest. In addition, SBIRT is predicated upon the availability of follow-
    up treatment and the motivation of the individual to seek it, and the “brief
    intervention” of SBIRT was designed for behavioral treatments, which overlooks FDA-
    approved pharmacotherapies for OUD.35 Because of this, Screening, Treatment
    Initiation and Referral (STIR) has been proposed,437 and demonstrated to achieve
    better outcomes than SBIRT in at least two randomized trials, one focused on tobacco
    dependence438 and the other on OUD.439 The decision to initiate MOUD upon an index
    visit, as compared with referral for follow-up care, should be informed by a number of
    factors, including the context of the visit, stability and preferences of the patient, and
    availability and likelihood of suitable follow-up.

158. MOUD treatment. SAMSHA and ACOG suggest pregnant women with OUD be
     treated with MOUD. This is partly due to concerns that other treatment approaches
     (e.g., abstinence) pose an increased risk of fetal injury or demise. MOUD treatment
     should focus on the provision of buprenorphine and methadone, rather than
     naltrexone, since there is less information on how naltrexone may impact fetal
     development.

159. Neonatal care. NOWS refers to the presentation of withdrawal symptoms amongst
     infants who have been exposed in utero to opioids. Expression of NOWS is widely
     variable, though long-term complications may include poor neurological and motor
     development.440 Infants at risk of presenting with NOWS may require specialized care
     such hospitalization within a neonatal intensive care unit.

160. Residential transition programs. Pregnant women and new mothers also need stable
     environments for their own health, their baby’s health, and the best chance for
     positive treatment outcomes. A stable environment includes long-term housing, child-
     care, access to transportation, all within a family-oriented and supportive
     environment. Some pregnant women with OUD will require residential treatment
     because of limited economic capital and/or serious medical illness or behavioral
     health needs.

161. Any abatement program in Cuyahoga and Summit counties should include resources
     for pregnant women and neonates impacted by the epidemic. Such resources
     should include: services to identify and treat pregnant women with OUD as early as
     possible; longitudinal services to support women and address modifiable risk factors
     throughout their pregnancy; clinical and behavioral interventions in the peri- and
     post-partum period; hospital and child welfare resources to comply with the Child
     Abuse Prevention and Treatment Act to ensure a plan of safe care is implemented
     for the infant and family or caregiver before the infant is discharged from the hospital;
     and follow-up services to optimize care for the mother-child dyad following hospital


 35 For example, some SBIRT studies have been negative and the effect in positive studies often

 modest. SBIRT is predicated upon the availability of follow-up treatment and motivation of the
 individual to seek it and the “brief intervention” of SBIRT was designed for behavioral treatments,
 which overlooks FDA-approved pharmacotherapies for OUD.



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     discharge, including the required developmental assessment for early intervention if
     the child is placed in out-of-home care.

CATEGORY 3E. AFRICAN AMERICANS, AMERICAN INDIANS AND ALASKAN NATIVES
This abatement category focuses on the unique needs of African Americans, American
Indians and Alaskan Natives (AIAN’s). This remedy is important because the opioid
epidemic is typically portrayed as impacting young and middle-aged, working class,
suburban and rural whites. However, African Americans and AIAN’s have not only been
historically disenfranchised but also in some areas have been disproportionately impacted
by the opioid crisis.

162. There is a long history of race intersecting with the issue of substance use disorder in
     America. As the historian David Courtwright has noted, “what we think about
     addiction [in America] depends very much on who is addicted”.441 Ironically, African
     Americans have been spared from some of the harms associated with prescription
     opioids because of racial and ethnic disparities in the treatment of pain, such that
     compared with Whites Americans, Black Americans are less likely to receive
     prescription opioids for pain.442 443 On the other hand, among individuals on long-term
     opioid treatment for chronic pain, prescribers are significantly more likely to
     discontinue such treatment based on a positive screen for illicit drug use (e.g.,
     cannabis) among Black Americans than White Americans.444

163. There are many pathways where racial/ethnic bias may affect the clinical treatments
     that patients ultimately receive, ranging from stereotypes regarding pain thresholds
     of racial/ethnic minorities and their counterparts to different expectations regarding
     whether and how quickly pain resolution should be achieved. In addition, more
     systemic barriers contribute to the high rate of injuries and deaths from opioids among
     African Americans and AIAN’s in some communities, ranging from housing to
     education to health care access, and thus just as with other racial and ethnic
     disparities in care, these are important to consider and address as interventions are
     designed to focus around prevention, treatment and recovery.445 446

164. It is true that nationally, the mortality rate from opioids among African Americans has
     been lower than that of White Americans.447 For example, in 2016, the national rate
     of fatal opioid overdose was 17.5 per 100K among non-Hispanic whites as compared
     with 10.3 among non-Hispanic blacks. However, in some states, African Americans
     are dying at higher rates than their counterparts.448 In Ohio, while 2017 overdoses were
     greatest among non-Hispanic whites (42.8), even among non-Hispanic blacks
     overdoses were alarmingly above the national rate (33.3).449 Because of their historic
     marginalization, the impact of the opioid epidemic on African Americans within
     Cuyahoga and Summit Counties and other communities should be explicitly
     considered while designing interventions focused to support prevention, treatment
     and recovery. For example, policies that differentiate or focus on supporting those
     with prescription opioid addiction while instituting punitive approaches against those
     who use heroin or illicit fentanyl may disenfranchise African Americans, just as different
     criminal penalties for crack and powdered cocaine did in the 1980’s and 1990’s.450




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165. Mortality from drug overdoses of any kind among AIAN’s is also disproportionately
     high. For example, between 1999 and 2010, AIAN populations had a mortality rate of
     17.1 per 100,000 compared to 16.6 in white, non-Hispanic populations and 8.9 in
     black, non-Hispanic populations and 5.5 in Hispanic populations.451 That renders their
     mortality from drug-induced deaths the highest of any ethnic group in the United
     States. From 1999-2015, AIANs also experienced the largest percentage change
     increase in the number of deaths over time, up to 519% in nonmetropolitan areas.452

166. In 2016, the national rate of fatal opioid overdose was 13.9 per 100K for non-Hispanic
     AIAN.453 Furthermore, SAMSHA's Tribal Technical Advisory Committee notes that
     determining universal rates and risks of substances misuse is challenging due to the
     diversity and geographical dispersion of AIAN population, resulting in varied estimates
     across different regions and tribes. For example, for the states of Idaho, Oregon, and
     Washington, the Northwest Portland Area Indian Health Board reported that from
     2006 to 2012, of drug overdose deaths, 65.3% of AIAN deaths were from prescription
     drugs, and of those, 77.2% were from opioids.454 AIAN adolescents have also been
     affected quite heavily, with estimated 2012 rates of non-medical use of prescription
     opioids twice as high as that of non-Hispanic whites and three times as high as that of
     African Americans.455 Furthermore, though most (71%) AIAN populations live in rural,
     urban and suburban areas,456 only ~2% of IHS funding is used to support urban Indian
     health clinics.457 As with African Americans and as noted in Paragraph #163, AIAN
     populations are also more vulnerable to risk factors that increase the risk of both OUD
     as well as mortality, such as poverty, unemployment and alcoholism.458

167. Not only has the opioid epidemic resulted in high morbidity and mortality among AIAN
     populations, but it also has affected tribal communities in unique ways. For example,
     such communities face persistent funding challenges, and community members are
     inhibited from seeking services due to geographic distances and staffing concerns.459
     Further, Western treatment programs, including MOUD, may be incongruent with
     traditional healing practices, beliefs and ideas,460 and specialty services and types of
     medical care that are not available at a given facility are often purchased from the
     private sector through a contract health service (CHS) program, which applies a
     stringent eligibility criteria to determine which patients qualify for CHS funding.461
     Efforts to alleviate the crisis are underway, with the IHS’ implementation of the RPMS
     Report and Information Processor (RRIP) program462 to monitor opioid prescribing, as
     well as initiatives for provider education and increased accessibility to naloxone and
     medication-assisted treatment in partnership with the Bureau of Indian Affairs.463
     However, in many AIAN communities, greater resources to support a more
     comprehensive and sustained abatement program are urgently needed.464

168. While AIAN are important to consider in many parts of the United States, they are not
     heavily represented in Cuyahoga and Summit Counties. For example, Cuyahoga
     County is 30.5% African American and 0.3% Native American, while Summit County is
     15.0% African American and 0.2% AIAN.465 In addition, the State of Ohio does not have
     any federally or state recognized tribes.466 Thus, while there are many parts of the
     United States where tribal communities are essential to consider as a special
     population with respect to opioid abatement, in Cuyahoga and Summit Counties,
     African Americans are much more prevalent and impacted.



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169. Because of this, as abatement remedies are developed in Cuyahoga and Summit
     Counties, it is important to consider how they can be deployed so as to equally serve
     African Americans as their counterparts. This includes assessing whether and how, at
     least inadvertently, remedies may further marginalize or stigmatize African Americans
     with opioid misuse or OUD. For example, if non-African Americans with OUD are
     predominantly treated with buprenorphine while African Americans are
     predominantly treated with methadone, a program that expands buprenorphine at
     the expense of methadone could inadvertently widen racial and ethnic disparities in
     MOUD uptake. Similar considerations should be given to other abatement remedies
     as they are designed, deployed and evaluated, ranging from media campaigns
     (e.g., “Is messaging designed so as to appeal to African American communities
     impacted by the epidemic?”) to interventions within the criminal justice system (e.g.,
     “Are drug courts being used in ways that equitably support opportunities for societal
     integration of all individuals regardless of their race or ethnicity?”).


CATEORY 3F. INDIVIDUALS WITH OPIOID MISUSE
This abatement remedy focuses on individuals who misuse opioids. This category is
important because there are millions of Americans who engage in such misuse, and they
are at elevated risk for a number of harms from opioids, including the development of
opioid use disorder and overdose death.

170. Opioid misuse is defined by the National Institute on Drug Abuse (NIDA) as “taking a
     medication in a manner or dose other than prescribed; taking someone else’s
     prescription, even if for a legitimate medical complaint such as pain; or taking a
     medication to feel euphoria (i.e., to get high)”.467 In contrast to opioid use disorder,
     which has formal diagnostic criteria according to the Diagnostic and Statistical
     Manual of Mental Disorders, 5th Edition (DSM-5), opioid misuse is more common and
     encompasses a broader continuum of behaviors. It is important to identify individuals
     with opioid misuse because they are at increased risk of opioid-related adverse
     events.

171. An estimated 11.4 million Americans, or 4.2% of the total population, reported misuse
     of prescription opioids or heroin during the past year based on 2017 data derived
     from the National Survey of Drug Use and Health (NSDUH).468 While this represents a
     modest decline from 2015, during which 12.7 million people were estimated to have
     engaged in past year opioid misuse, the numbers nevertheless remain staggering. Of
     these 11.4 million individuals, 97.2% engaged in past year misuse of prescription
     opioids, while 7.8% engaged in misuse of heroin and 4.9% engaged in misuse of both
     prescription opioids and heroin. Among adults who misused opioids in 2015 who did
     not have an OUD, approximately two-thirds of cases reported the reason for such
     misuse was the relief of pain, highlighting the overlap of chronic pain with non-
     medical opioid use as well as the opportunities to address both simultaneously
     through well-designed abatement remedies.469

172. As many as one-third of individuals misusing opioids report that the source of their
     opioids was a single prescriber,470 an indication that the health care system, including




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     high prescribing clinicians, continues to play a role in fostering the epidemic.36 By
     contrast, more than one-half of those misusing opioids report their source as a friend
     or relative, a reminder of the continued diversion of opioids that also commonly
     occurs, although here too, the most common source of opioids among these friends
     or family members remains a licensed prescriber.471 The large oversupply of opioids in
     these settings supports the use of interventions such as prescription “caps” that states
     and some payers are increasingly using to reduce the volume of opioids prescribed
     for short-term use,472 as do several studies indicating that the likelihood of an individual
     converting to chronic opioid use is significantly greater among individuals receiving
     greater doses or durations of opioids on their first fills.473 474 475

173. In contrast to patients who are using opioids fully as directed under the care of a
     licensed prescriber, which still poses unacceptably high risks in many patients currently
     receiving them, patients with opioid misuse should be identified and targeted for early
     intervention so as to avert their potential transition to opioid use disorder or overdose.
     Methods to identify and address these patients include both the routine clinical use
     of prescription drug monitoring program (PDMP) data and clinical interviewing.
     Clinical interviewing is useful not only to screen for potential misuse but also to explore
     motivations for such and to address underlying issues, including sub-optimally treated
     pain, depression or other behavioral health factors that may be driving such behavior.
     Once identified, such patients should receive more intensive clinical monitoring,
     psychosocial interventions, pain management, and in some cases, transition to partial
     opioid agonists such as tramadol.

174. Any abatement program in Cuyahoga and Summit Counties should include
     resources devoted to addressing the substantial minority of individuals who misuse
     opioids. Clinicians should be trained to routinely evaluate patients for such practices,
     OARRS data should be increasingly integrated within health systems and electronic
     medical records, and interventions should be deployed to decrease the volume of
     opioids prescribed, which in turn will decrease the incidence of misuse. Once opioid
     misuse has been identified, greater clinical resources should be devoted both to
     addressing opioid misuse directly as well as evaluating and treating potential
     contributory factors ranging from comorbid social stressors or mental illness to
     untreated or undertreated chronic pain syndromes.




ESTIMATING NATIONAL COSTS OF ABATEMENT

175. As I note in Paragraph #20, in addition to human suffering and loss of life, addressing
     the opioid epidemic will require significant economic investments. While the exact
     costs of abatement are difficult to estimate, and will depend upon the population
     requiring services and the programs in existence in each jurisdiction, it is possible to
     estimate the cost, nationally, of the efforts required to reduce further harms. These

 36 By contrast, 1.5% of those with opioid misuse report their source as from more than one doctor,

 again attesting to the relatively small contribution opioid shoppers make to the epidemic (see
 Paragraph #33).



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             relevant population over time.39 I derived these populations from the
             economic model (“Markov model”) described in Paragraph #13.

178. For example, to calculate the ten-year treatment costs for OUD, which represented
     the largest abatement category, I derived estimates of the cost of MOUD from
     published cost-effectiveness analyses476 477 and the National Average Drug Acquisition
     Cost478, estimated infrastructure costs from the published literature479 480, assumed an
     equal mix of the three FDA-approved products as a base case40, and incorporated
     provider treatment costs, also from the peer-reviewed literature. Estimates of the
     population of individuals with OUD requiring such treatments over ten years were
     derived from the Markov model, and multiplied by the estimated treatment costs.41

179. For some categories, specific costs will depend upon decisions made by the Court or
     its designees, local policy-makers and service providers based on the mix of products
     and services used in the Counties and the manner in which those products and
     services are procured. In just one area, for example, the cost of naloxone will depend
     upon:
           • the most likely use of different formulations (e.g. Narcan® vs Evzio®)
           • how future product innovation will affect their prices
           • whether there are other distribution channels beyond those proposed in
           Paragraph #112
           • whether discounts are available to the purchaser
           • how future changes in the opioid epidemic will impact the need for
           naloxone.

180. Ultimately, detailed assessments of the specific costs within Cuyahoga and Summit
     Counties will be required, and there are a number of limitations in extrapolating from
     national estimates to specific localities. Nevertheless, using 2017 opioid overdoses as
     one proxy for global abatement needs from the epidemic, these counties accounted
     for approximately 1.50% of national overdose deaths481 (524 opioid deaths in
     Cuyahoga County and 190 deaths in Summit County/47,600 national opioid overdose
     deaths482), which would represent approximately $6.79 billion dollars of the total figure
     depicted in the Table over ten years (1.50% X $452.9 billion).

181. My analyses do not address how abatement costs should be shared across different
     parties. In addition, some (e.g., “Medication Assisted Treatment”), but not all, of my
     estimates exclude costs arising from individuals with heroin use disorders without prior
     prescription opioid use. These national estimates may be useful as local communities,
     including Cuyahoga and Summit Counties, map the resources they have committed


 39 Some of the interventions (e.g., mass media campaign, surveillance) were applied against a

 constant population, assuming that no reduction in these investments would occur over the
 observation period, although sensitivity analyses modifying these assumptions can be performed.
 40 Data on MOUD suggests such an assumption substantially overestimates naltrexone and

 underestimates buprenorphine use, changes that the model can easily accommodate.
 41 Note that while these estimates included the costs of MOUD for pregnant women with OUD as

 well as for those needing treatment within the criminal justice system, the costs did not incorporate
 the additional health care costs of those with OUD who are not on stable MOUD, which could
 substantially increase the estimated costs of this category.


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      or available, as well as estimate future costs of their own abatement programs. For
      example, my model inputs, structure and outputs may all be useful for communities
      to consider and compare against their own, when available. While the costs depicted
      in the Table are considerable, they remain a fraction of the costs of the epidemic,
      and as discussed in Paragraph #93, the individual and societal return on investment
      for interventions such as treatment for OUD is clear.

POTENTIAL OBJECTIONS TO PROPOSED ABATEMENT REMEDIES
There is remarkable consensus among public health experts regarding the abatement
remedies outlined above, because they rest upon a large evidence-base, and thus action
can be informed by evidence.42 Nevertheless, some might object to one or more of the
proposed remedies on a number of grounds.43

182. Enough is already being done. One argument is that there is already an enormous
     amount of effort being devoted to the epidemic, as well as some signs that things are
     “turning around”. For example, prescription opioid volume continues to decline, there
     have been large reductions in overdoses in some communities, there are open
     treatment beds in others, and national awareness of the gravity of the epidemic is
     growing. While such arguments might have some appeal, they overlook the
     complexity of the epidemic, continued evidence of grave harms and the fact that
     investments made thus far reflect a small fraction of the epidemic’s societal costs. For
     example, despite declines in opioid sales, prescribing rates remain far above pre-
     epidemic baselines. Similarly, while overdoses have declined in some communities, in
     others they remain higher than ever before, and there is no indication that flow of
     fentanyl into the country has been stopped. As noted in Paragraph #86 and
     elsewhere herein, there are vast gaps that remain in the treatment system, and many
     of the most damaging consequences of the epidemic, such as its effects on children,
     families and those with active addiction or a history of OUD, will endure for
     generations.

183. Further research is needed. Theoretically, it would be of interest to have randomized
     experiments assessing the effectiveness, and comparative effectiveness, of different
     interventions to reduce opioid-related morbidity and mortality. However, such
     investigations are impractical, and often, unethical as well.483 As a result, policy-
     makers and other stakeholders must rely upon observational evidence that is prone
     to shortcomings. For example, the effect of an intervention such as a naloxone law
     may be delayed, obfuscated by other contemporaneous policy changes, or
     associated with unintended effects that diminish its ultimate welfare impact. These
     challenges underscore the importance of continued study by clinicians and public
     health experts, as well as investments such as the National Institutes of Health HEAL
     Initiative.484 While it will always be the case that “further research is needed”,

 42 As noted in Paragraph #118, some policy-makers have sounded alarm regarding harm
 reduction approaches and supported more punitive enforcement policies, but there is little to no
 debate among public health experts regarding these matters, and any disagreement is dwarfed
 by the amount of scientific consensus regarding broad approaches to prevention, treatment and
 recovery as outlined above.
 43 Yet an additional objection, that the primary problem is one of heroin and illicit fentanyl, not

 prescription opioids, is addressed in Paragraph #34.


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      particularly regarding some abatement approaches, there is already a large amount
      of information about many facets of the epidemic, and, as already noted, “the cost
      of doing nothing is not nothing”.485 For example, there is unequivocal evidence of the
      benefits of treatment with MOUD, as of enormous gaps in its accessibility and provision
      for individuals with opioid use disorder. This overwhelming evidence explains the
      strong scientific consensus regarding the importance of expanding the treatment
      system, as well as many of the other abatement remedies discussed herein.

184. There may be unintended consequences. As noted in Paragraph #29 and Paragraph
     #34, concern has been raised regarding potential unintended consequences of
     efforts to address the epidemic, especially “supply-sided” interventions such as
     clinical guidelines that may reduce the volume of opioids used in clinical practice. It
     is theoretically possible that reductions in opioid prescribing may pose a burden on
     individuals in whom opioids are clinically appropriate, and thus the importance of
     multifaceted approaches to diminish this likelihood, including: investments in pain
     research; continued evidence generation and synthesis such as the activities
     undertaken by the CDC and professional societies, provider and patient education;
     insurance coverage and benefit redesign; and surveillance. Similarly, while arguments
     that constraining opioid oversupply “just pushes people to heroin” are over
     simplified,44 such concerns underscore the urgency of expansions in the treatment
     system to accompany supply-sided interventions reducing the flow of people from
     the general population into opioid use disorder.

185. We shouldn’t reward bad behavior. Variations on this argument include that people
     who are “running into trouble” should know better, or more abhorrently still, “three
     strikes and you are out”.45 These approaches to managing the opioid epidemic
     blame the victims and reflect classic stigmatizing language grounded in erroneous
     beliefs regarding the nature of addiction. No one chooses addiction any more than
     one chooses to have colon cancer or multiple sclerosis.486 Such language overlooks
     this and conflates abuse, which is a behavior, with addiction, which is a disease. It
     also is hard to reconcile with the fact that, as established in the expert report by
     Katherine Keyes, the majority of individuals with opioid use disorder developed it
     through receipt of opioids from the health care system. It is precisely this type of
     language, and persistent stereotypes regarding the nature of opioid dependence,
     misuse and addiction, that have slowed progress in addressing the epidemic over
     two decades, and that should be aggressively rebutted head-on as part of
     campaigns to educate the general public and health care providers regarding the
     nature of the epidemic.

186. MOUD isn’t that effective and it is diverted. In fact, there is a substantial body of
     evidence regarding the effectiveness of treatments such as buprenorphine and
     methadone in retaining people in treatment, reducing illicit drug use, decreasing

 44 There is not a zero-sum game between reducing prescription opioid oversupply and increasing
 heroin use. For example, see Compton WM, Jones CM, Baldwin GT. Relationship between
 Nonmedical Prescription-Opioid Use and Heroin Use. N Engl J Med. 2016;374:154-63.
 45 Such an argument was proposed by a city council member in a small town in Ohio, who argued

 that the use of Emergency Medical Services should be restricted among people who utilize such
 services for multiple opioid overdoses.


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      criminal activity and preventing overdose death.487 488 It is true that relapse among
      people with OUD is not uncommon, just as is the case with cancer, depression and
      many other chronic diseases. Similarly, while treatment failures occur with MOUD, the
      empiric response rate to many medicines (e.g., anti-depressants) is low, but this does
      not obviate their potential clinical and public health value. An overwhelming amount
      of evidence indicates that MOUD can significantly decrease mortality and other
      undesirable outcomes, a reduction that could be seldom matched by treatments for
      many other chronic diseases. Nonetheless, diversion of MOUD remains a concern,
      and underscores the importance of greater, rather than fewer, investments in the
      treatment system to enhance the comprehensiveness and continuity of individuals
      seeking care for addiction.46


CONCLUSION
187. The opioid epidemic is the worst drug epidemic in our nation’s history, and it has been
     driven by large increases in the oversupply of prescription opioids for the treatment of
     pain. While all measures of the epidemic, from prescription opioid sales to rates of
     addiction to overdose deaths, remain at alarming levels, there is increasing
     recognition of the magnitude of the harms that have accrued, and remarkable
     scientific and public health consensus regarding what needs to be done. The
     abatement remedies described herein represent evidence-based and evidence-
     informed approaches that many communities have already begun to undertake with
     varying degrees of coordination and scale, and they are highly aligned with the three
     principles described at the outset of this report: (1) informing action with evidence;
     (2) intervening comprehensively; and (3) improving the care of those with pain. There
     is no single template for how these interventions should be combined and deployed
     in communities across the country, although their impact will be greatest when based
     on a comprehensive needs assessment as proposed herein for Cuyahoga and
     Summit Counties. As the citizens and leaders of those counties know all too well, there
     is not a moment to lose.


 April 3, 2019




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 46The use of directly observed therapy (DOT) to deliver methadone, and provider administered
 buprenorphine formulations, are both additional means of reducing potential MOUD diversion.


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TECHNICAL APPENDIX



OVERVIEW

As described in paragraph 13 of my report, the APOLLO model is a dynamic Markov model that describes the dynamic movement of populations through
different phases of the opioid epidemic over time. The parameters for the APOLLO model are categorized in three different categories: initial populations,
transition probabilities, and reference populations for calibration. This document provides the values, sources, and notes for each parameter probability. Some
of these parameters were directly taken from current research and data, some were calculated based on research and model calibration, and some are based
on my expert opinion and model calibration. For a few parameters, alternative estimates and sources exist, and these values are listed below the model
parameter with an “ALT” designation attached to the variable. The choice of the operative parameter value is driven by strength of evidence, appropriateness
of parameter for the setting of the model, and model calibration.

The APOLLO model starts in year 2010 with 32 health states and uses a monthly time step. The model is considered an open model since populations can enter
the model and the model cohort is not fixed throughout time. We modeled the US population aged 12 and over. The choice of this demographic is congruent
to the demographic that NSDUH reports for their top line epidemic numbers. The model tracks the opioid epidemic until 2029, with years 2010‐2017 used for
calibration. Calibration refers to the adjustment of parameters such that key model populations, e.g. overdose deaths, resemble the actual experience of the
populations over the calibration time period. The APOLLO model is calibrated against key populations and statistics in the years 2010‐2017. We used the
following populations and statistics as points of calibration including: directed‐use prescription population, misuse prescription population, misuse heroin
population, past year prescription opioid use disorder (POUD), past year heroin use disorder population (HUD), overall opioid overdose deaths, prescription
opioid overdose deaths, and heroin and illicit synthetic opioid overdose deaths. The sources of these include the National Survey on Drug Use and Health
(NSDUH) and the Centers for Disease Control and Prevention Wide‐ranging Online Data for Epidemiologic Research (CDC WONDER) Multiple Cause of Death
datasets.




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G. CALEB ALEXANDER, MD, MS, SUPPLEMENTAL EXPERT REPORT – UPDATE . APRIL 17, 2019.
Table 1 represents changes to the redress models used to develop preliminary estimates of the national
abatement costs to address the opioid epidemic. Please refer to Paragraphs #176-#180 in my report for
additional details.

Table 1. Redress Category and Changes to Redress Models.
Abatement              Changes to Redress Models
Category
1. Medications for     1. Modified the intervention to reduce churning of patients through MOUD so as to
Opioid Use Disorder    take effect on only active OUD population and not inactive OUD population
(MOUD)                 2. Updated from 2% annual compounding to 3.24% annual non-compounding
                       inflation
2. Criminal Justice    1. Changed drug court population from 250,000 to 120,000
Interventions          2. Changed post incarceration population from 250,000 to 120,000 (Assumed. Zero
                       sum with drug court population [number of individuals entering = number exiting])
                       3. Revised estimated of the proportion of post-incarceration population in need of
                       transitional housing and social services to 25% of those released with opioid use
                       (Assumed, informed by Bureau of Justice Statistics)
                       4. Updated sources file to reflect all inputs and changes
3. Mass Media          None
Campaign
4. Naloxone            1. Updated sources file to reflect all inputs and changes
5. Adolescents         None
6. Academic            None
Detailing
7. Pregnant            None
Women/Neonates
8. Foster Care         Updated sources file to reflect all inputs and changes
9. Hepatitis C/HIV     1. Changed annual cost of HCV treatment from $50,400 to $26,400
                       2. Updated sources file to reflect all inputs and changes
10. Drug Disposal      Updated sources file to reflect all inputs and changes
11. Surveillance       None
12. Harm Reduction     1. Changed assumption about number of supervised consumption facilities opening
                       in the US each year to 10 instead of 100 SCFs
                       2. Changed fentanyl testing strip population from 2.5 million to 500,000 (Assumed. 50%
                       of heroin OUD are reached by SSPs [313,000], and assumed 10-15% of those with
                       prescription OUD are also reached, so total about 500,000)
                       3. Changed average number of times individual tests from 2.8 to 1.5 times per day
                       4. Updated sources file to reflect all inputs and changes
13. PDMPs              None
14. Research           None
15. Law Enforcement 1. Changed number of detectives required for a large police department for
                       specialized overdose units from 10 to 7
                       2. Changed number of detectives required for a mid-size police department for
                       specialized overdose units from 4 to 3
                       3. Updated frequency of anti-stigma training to annually for all police officers and
                       added correctional officers
                       4. Updated sources file to reflect all inputs and changes



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In addition to the changes above, I now provide four contrasting ways of considering
the 10-year abatement costs. The reason that this is important is that since the epidemic
will continue to evolve, any estimated costs for Abatement Year 1 may be more, or less,
in Abatement Year 2, depending on how things change. For example, based on 2010-
2017, one can estimate 2018 naloxone costs. But what will be the costs for naloxone
required in 2023? Table 2 depicts the results of these analyses, which use different “trend
ratios” to capture changes in the epidemic over time. Please note that some redress
categories (e.g., media campaign, PDMPs) are assumed to be constant rather than
multiplied by a trend ratio for the years examined.

Scenario A depicts estimates using our original baseline trend ratios from the model
submitted April 3, 2019. These ratios represent the degree to which specific target
populations, as outlined in the second tab of the “Redress Models” Excel workbook,
change from 2019 to 2028 relative to 2018 (baseline year) under the status quo, which
includes an assumption of increased uptake of medications for opioid use disorder
(MOUD) and decreased churn among those on MOUD.

Scenario B depicts abatement estimates based on an updated iteration of our model.
In addition, in contrast to Scenario A, this scenario: (1) does not incorporate trend ratios;
(2) does not assume increased uptake and reduced churning of MOUD; (3) includes
updated estimates for some categories as outlined in Table 1 above; and (4) does not
include infrastructure cost for increased uptake MOUD. Thus, it simply multiplies
Abatement Year 1 costs by 10, after accounting for inflation, to derive 10-year estimates.

Scenario C is identical to Scenario A but includes updates to the redress models as
outlined in Table 1.

Scenario D applies trend ratios based on an assumption that comprehensive
interventions take place to: (1) reduce opioid prescribing; (2) expand uptake and
reduce churning of medications for opioid use disorder (MOUD); and (3) distribute
naloxone. Thus, these “intervention trend ratios” represent the proportions by which
populations targeted by the various interventions change from 2019 to 2028 relative to
2018 (baseline year) as a result of the interventions implemented. The model also
includes graphical representations of these interventions (tab 10 of the model Excel
workbook).




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Table 2. Preliminary Estimates of Abatement Costs Using Different Methods of Summing Cost Over Time.
                                                    10-Year Cost ($ Billions) Estimates
                                     Scenario A       Scenario B          Scenario C      Scenario D
Abatement Category                     April 3          April 17            April 17        April 17
                                   (baseline trend     (no trend       (baseline trend  (interventions
                                       ratios)           ratios)            ratios)      trend ratios)
1. Medication-Assisted
                                       $169.1            $72.9              $173.0          $164.9
Treatment
2. Criminal Justice
                                        $41.7             $6.9                $7.0            $6.4
Interventions
3. Mass Media Campaign                   $5.7             $5.7                $5.7            $5.7
4. Naloxone                              $9.3             $8.6                $8.5            $7.8
5. Adolescent Interventions             $20.4            $21.3               $20.4           $15.1
6. Academic Detailing                    $3.9             $3.9                $3.9            $3.9
7. Pregnant Women/Neonates              $10.7            $11.2               $10.7            $7.9
8. Foster Care Interventions            $37.5            $35.6               $37.6           $20.7
9. Hepatitis C/HIV Interventions        $32.5            $23.8               $23.9           $20.9
10. Drug Disposal Programs              $11.1            $11.1               $11.1           $11.1
11. Surveillance                         $2.2             $2.2                $2.2            $2.2
12. Harm Reduction
                                        $38.1             $7.7                $7.7            $7.0
Interventions
13. PDMPs                                $0.7             $0.7                $0.7            $0.7
14. Research                            $13.0            $13.0               $13.0           $13.0
15. Law Enforcement                     $57.0            $57.2               $57.2           $57.2
TOTAL                                  $452.9           $281.8              $382.6          $344.5




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